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EXHIBIT E

 
 

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50 52 5
1 Q Have you taught any classes in education? 1 understanding the nature of life, that's sort of an extension
2 A Yes. 2 of the idea, because I think we have no problem with
3. Q What have you taught? 3 Intelligent Design with regard to artifacts
4 A Well, I've taught a cross-listed class at UCLA between 4 Q And why do you say that?
5 library and information science and education. 5 A Because humans are the intelligents wh¢ are designing the
6 Q And what was the subject matter of that class? 6 things. I mean, we know where it comesifrom. We actually
7 A It was on my own -- my own work on social epistemology whigh 7 know the causal process in terms of how [these things are
8 has some credibility in these areas. 8 produced.
9 Q Do you consider yourself an expert in Intelligent Design? Q And how do you understand we come to that knowledge with
10 A Anexpert in Intelligent Design. No. 10 ~—_ artifacts?
11 Q Okay. 11. A How do we come to that knowledge? Well, largely because we
12 A I'manexpert on the nature of science. 12 _ could do it ourselves. Right. We can actually produce
13. Q Gotcha. Okay. Do you consider — do you consider 13. _‘ these — we can say -- I can say, look, I'm] going to design a
14 yourself -- you said that Intelligent Design is science. I 14 car. ‘I'm doing it, it's done. Here's the car. And you can
15 think -- I think we can agree, you're basically saying it's 15 sort of lay out the steps by which it happens. You can talk
16 science but not as far along as some of the other natural 16 about the general blueprint, how the blugprint's supplied
17 _ sciences? 17 _ materially to make the thing run and then it works. And so
18 A Yes. 18 you have a complete sense of that causal process there. And
19 Q Okay. Do you consider yourself an expert on the scientific 19 so that's the kind of paradigm case I wonld say of
20 content of Intelligent Design? 20 Intelligent Design.
21 A I'm not sure what you mean by that. 21 Q And am I correct in understanding your testimony from a
22 Q Well, let me ask you, let me ask you, what is Intelligent 22 couple minutes ago that that kind of design inference, so to
23. ~—s«Design? 23 speak, is the model for the design infergnce being used for
24 A What is Intelligent Design? Well, it's an attempt to explain 24 biological life?
25 actually a vast array of phenomena, not just restricted to 25 A Yeah, I would say so. I would say that's ultimately what's
31 53
1 the origins of life, in terms of some kind of design that was i being aimed at. Yes.
2 put there deliberately. Now, the scope of the theory — the 2 Q Here's what I don't understand. Add quaybe you can help clea
3 scope of this science is potentially quite large. In that 3 this up for me. You explained how wa understand design of
4 respect, it's very much like information science, that in a 4 human artifacts from the —- and you said, you know, we can
5 way, doesn't have to be restricted to a single domain. So 5 understand it because we can do it, right? How does that
6 it's just not about life. It could be about anything that 6 provide a model for design of biological life?
7 displays this design pattern because machines, obviously, 7 A Well, I think the best way to think abput this is in fact
8 have Intelligent Design, right, and they're not forms of 8 with what — imagine computer simulations which, you know,
9 life. So it is -- in a way, it's kind of almost like a 9 are increasingly in the biological scieqces when we're trying
10 second order science, like information theory attempts tobe. {10 to project backward into how life began, where, you know, we
11 —_ I'guess that would be how I would pitch it. 11 have recourse -- we of course have reqourse to fossils to a
12 Q You used -- you know, obviously, the word design is in the } 12 certain extent. We can get some sens¢ of what life was like
13 term Intelligent Design. 13 in the beginning that way. And we cam do some DNA testing on
14 A Yeah, yeah. 14 that. But increasingly we have to rely on computer
15 Q What do you mean by design? 15 __ simulations. And computer simulations are design functions,
16 A Well, it's very unlikely that the order that is produced 16 _ right, where you're programming a syptem to behave in a
17. would have come about through -- through chance, right, that] 17 certain way, and then you see what the outcomes are. And you
18 there isn't some sense, some plan there that the order was 18 say, well, okay, let's say that I im: that the world was
19 meant to be there. I mean, the model for it in an artifact 19 designed with these three or four parameters that interact in
20  oramachine. Something, obviously, a human has designed. | 20 —_a certain way according to a comput¢r program I can
21 mean, that's -- I mean, in that respect, you know, Paley sets | 21 specialize -- specify. Well, that then|produced the world as
22 a kind of benchmark for what the image of the -- of what the [22 we know it. Okay. If it does, right, that's a good argument
23 science is about. And that's why -- that's the -- sort of 23 for design, it seems to me. If not, you know, back to the
24 the natural way to understand this. And then with all the 24 drawing board. But the point is we're already doing stuff in
25 stuff that's going on now with Intelligent Design 25 science where we're actually engaged in design like

 

 

 

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14 (Pages 50 to 5

 
 

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1 activities. 1 A Yeah. J mean Dembski and Behe. Thatlis to say, not the high
2 Okay. So I don't think it's so far-fetched in 2 school textbooks.

3 principle, especially in the period in which we're living, 3 Q Okay. So let's just be clear what you mgan. And let me ask

4 where we're doing more and more of our science on computer {| 4 this in a couple of -- a couple questions about this. First

5 programs which requires that the scientist actually design 5 of all, you said you're not -- you don't hold yourself out as

6 the situation in which the phenomenon is going to manifest 6 an expert in the content, the scientific content of

7 itself. 1 mean, so I -- I don't see -- I don't see quite the 7 Intelligent Design, is that right?

8 problem in principle here. 8 A We haven't gotten back to what you = by that yet. Can

9 Q Well, why would the fact that humans can design a model lead] 9 you — you just threw the question back a me. So what do

10 us to any conclusions about what a non-human, non-natural 10 you mean by scientific content?

11 actor can do in terms of creating some form of biological 11 Q Well, okay, fair enough. What do you {nderstand to be the

12 life? 12 _ core propositions of Intelligent Design ap it applies to

13. A Well, just stated that way, sure. You're absolutely right. 13 __ living things, biological life?

14 But that's not — that's not the whole story, right? In 14 A What do I understand them to be?

15 fact, you know, this is where one -- I mean, the point is 15 Q Yes.

16 that even people who don't consider themselves proponents of [16 A Well, it depends which -- these guys dgn't all hold the same
17 Intelligent Design are in fact, you know, playing around with =| 17 views exactly. Okay. That's the first paint, right?

18 models that, in a sense, put them in the position of 18 Intelligent Design is, in a sense, kind of|a covering term

19 _ potential designers of universes. Okay. So in a sense, 19 for a lot of overlapping theories, you might say. I mean,
20 science is moving in a design oriented direction already. 20 there is this business of -- I mean, that Rehe emphasizes of
21 It's just the people doing it who, let's say, do complexity 21 the irreducible complexity of cellular life. But then
22 theory and stuff like that don't like to call it Intelligent 22 there's also the business with Dembski and the idea of design
23 Design. But in a sense, they're adopting the standpoint, you 23 as a kind of explanatory filter that is not as probable as
24 know, that would seem to me ultimately Intelligent Design is [24 just mindless natural regularity, but not|as improbable as
25 trying to work itself back to. That's why so many of these 25 chance. So these are kind of general ndtions that these guys

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1 arguments are arguments that, in a sense, are meant to be i are working with as providing coasts on the possibility
2 conducted on computers under mathematical terms. It's nott-2 for life. Okay. And they're coming aj it from somewhat

3 it's not -- the old -- it is true that with Paley and a lot 3 different directions. So, I mean, that's what -- at least

4 of these old guys, there is some kind of analogy which is 4 that's what I understand to be distinctive about the

5 parasitic on the idea that, you know, human beings are madq 5 position, right, in the sense it makes if different from what

6 in the image and likeness of God. So if humans can doit, | 6 evolutionists are saying.

7 then God can do it kind of in a bigger way. I understand 7 Q Okay. So if -- the answer to the question, you know, what is
8 that, and that's the theological basis for the design 8 ID comprised of from a scientific stapdpoint is Bebe's notion
9 argument. But it seems to me now with science, we've got | 9 of irreducible complexity?

10 sort of -- we're now ina situation where the way we actually 10 A Yeah. And Dembski's explanatory filter. And those are the
11 do science is one where we're in the design position, and |11 basic explanatory principles, the fundamental ones that are
12 we're kind of doing the sorts of things that let's say a j2 being developed now, it seems to mq.

13 creator would do if they were simulating a universe. And sq.13° Q Other than those two explanatory pfinciples, are you aware
14 I don't see the -- you know, so it's sort of a different 14 any other explanatory principles thatjare part of the

15 basis for making the inference. Now, whether you're going} 15 _ Intelligent Design as a scientific conpept?

16 to -- you know, I mean, I would suppose the tough questionid6 A Well, I would say at this level of gqnerality, those are the
17 whether there would ever be any kind of empirical way of |17 = main ones. I mean, there's -- Meyer |has this sort of an

18 resolving whether a simulated universe designed by ahumap18 —_information specification criterion a well. But, you know,
19 being, to say this is how the world happened, could ever be 19 if you were to look at any given scignce, you'd only come up
20 proven empirically. And I don't know if that could happen. 20 with about two or three fundamental principles for any of
21 But then again, evolution's stuck with that problem, too. 21 them any way. So the fact that there aren't a whole lot of
22 Everybody's kind of stuck with that problem. 22 them, and they all seem to overlap dr have something in
23 Q One of the things you say on the first page of your report ig 23. common, that itself is not prejudicial, it seems to me.
24 my expertise experts to a consideration of ID in its most 24 Q I'mnot characterizing. | just want|to make sure I
25 developed forms. 25 understand what you understand Infelligent Design to be.

 

 

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15 (Pages 54 to 57)
 

 

    
   
 

 

 

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1 A Well, creation science was originally an attempt to sort 1 __ see, so all of that I think is indicating thaq Intelligent
2 of -- I mean, I think in light of the Arkansas case, right, 2 Design is really scientific, and isn't very souch reliant
3 it was seen as a way of trying to bring in these biblical 3 anymore in whatever historical connectidns it's had with
4 principles into the science classroom by making it look as | 4 _ religion.
5 though there were scientific grounds for holding what tumdd5 Q_ If you took Dembski's work away, and you took Behe's work :
6 out to be biblical beliefs. And so sometimes fossils would} 6 away, and I understand you're not going fo do that. But
7 be appealed to, sometimes they would be dismissed out of } 7 _ would there then be any distinction between Intelligent
8 band, depending on what kind of suited the purpose of the | 8 Design and creationism?
9 textbook writer. But there was no real clear evidence of any 9 A Well, there's Meyer where I --
10 __ kind of internal development taking place. It was rather, it] 10 MR. GILLEN: Object to form.
1 seemed like kind of camouflage strategy. I mean, at least | 11 BY MR. ROTHSCHILD, CONTINUING:
12 that seems to be the final verdict on this. 12 Q Let me just finish. I mean, in other words, if you took Behe
13. Q And do you -- to you, Intelligent Design is different than | 13 away and you took Dembski away and they'd never written, an
14 creation science? 14 nobody had replaced them, would you ee any basis then to
15 A Yes, I think so. I think -- not only do I think it's 15 ___ say Intelligent Design has developed in B way that
16 _ different, I think also its critics treat it differently. 16 _ constitutes science?
17. _— That is to say, including the critics who don't want to see | 17 MR. GILLEN: Object to form.
18 it taught. / 18 THE WITNESS: Well, let's see. Firpt of all, we haven't
19 Q And in what respects is Intelligent Design different than ]19 talked about Meyer's work which I'm ndt intimately familiar
20 creation science? 20 with. But of course there is that sort of Btrand there as
21 A Well, because you, first of all, Intelligent Design actually | 21 well. But I take it you're after -- your -/ the thrust of
22 more self-consciously draws on these wider traditions of | 22 — your question is that, you know, if you fook away these three
23 Western thought from natural theology and onward that hay@3 —_guys or four guys, or how many, you kgow, finite number of
24 been marginalized by Darwin which try to deal with larger| 24 | guys, would there be any Intelligent Design? 1 actually
25 questions about the nature of life, and which did have somq 25 think -- see, we've so far been discussing this issue of
91
1 kind of, you know, proto-scientific development. Like 1 Intelligent Design as something that is mutually exclusive
2 Paley's argument and so forth, and then tries to put it in a 2 from evolutionary theory. And I undegstand that because of
3 more scientifically rigorous form like Dembski's done with 3 the nature of the case we're talking abgut. But within
4 the explanatory filter. And so you do see a development. 4 evolutionary theory, within evolutionaty theorists, there
5 And you also -- and in the way in which the critics treat it. 5 has -- there have been tendencies in that direction as well.
6 So when the philosophers are debating with Dembski, they 6 So it's not like Intelligent Design is something completely
7 explicitly say, let's put aside his religious assumptions and 7 alien to people who we would normally consider to be
8 just deal with his arguments on their face. And the kinds of 8 contributors to evolutionary theory. I mean, you actually :
9 arguments they give, first of all, it's published in their 9 have people, I cite Theodosius Dobzhgnsky, for example, who's :
10 main peer reviewed journals, in the Glossary of Science in 10 one of the founders of the Neo-Darwiaian synthesis who's a :
11.‘ the United States. And he responds there. And it's an 11 _—_ geneticist, who quite obviously took thteligent Design
12 argument that, you know, they could be having with anyone, | 12 —_ seriously and didn't think of it as being exclusive of
13 right, who they would normally respect as being scientific 13 evolution. Right. So -- so ~ so the thing is that what
14 and so forth. And Michael Ruse, when he writes, I mean, he's] 14 would be — yeah. I mean, there is a stnse in which the
15 an interesting guy to have watched over the last 20 years 15 Intelligent Design movement as it's understood today, you :
16 since he's writing a book a year on this kind of stuff. 16 know, as this is kind of American phqnomena defined by these :
17 And, you know, the -- you know, the Darwin End Design, 4.17 guys who made the assumptions in iation with the
18 book that came out in 2003, there he quite explicitly, when 18 Discovery Institute, | mean, there's a sociological way of
19 he discusses Intelligent Design, he makes the connections 19 defining them. Yeah, maybe that form wouldn't exist. But
20 with the natural theology tradition, he treats it in a very 20 the general ideas and stuff, I mean, age still lurking there
21 kind of respectful manner, and in fact he says that, you 21 in evolutionary theory. And there is btuff that these people
22 know, these views that these guys are putting forward these | 22 have already developed that could be taken, you see. I mean,
23 days could be easily confused with kind of respectable 23. ~+so- I'msorry. I don't know if that apswers your question.
24 scientific views. And that's something you wouldn't -- they {24 But I was trying to sort of —
25 wouldn't have said 20 years ago about creation science. You | 25 BY MR. ROTHSCHILD, CONTINUING:

 

 

 

24 (Pages 90 to 9.

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25 were talking about earlier. Presumably that's what you mea 25 school district is going to read to students in biology

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1 Q I want to go through some of the assertions in your report. 1 because there is no research program geperated.
2 If you could turn to page one, you have a section titled at 2 Q What about creation science?
3 the bottom of the page is evolution fact or theory? 3 MR. GILLEN: Object to form.

4 A Ub-buh. 4 BY MR. ROTHSCHILD, CONTINUING:
5 Q low 5 Q Does that qualify as — :
6 wet that evolution is both : a ‘fact and a theory; i is that, 6 A No. Not in the -- not in the terms that Wwe were talking :
7 ~~ fairky 7 about earlier. :
8 A ese 8 Q. Okay. Now, if we use the National Adademy of Scienegg ;
9 Q Okay. And when you use the word theory fora scientific 9 definition, docs evolution qualify as.a scientific ic theory? ¢
10 _ proposition, do you have a specific definition in mind? 10 A ae )
11 A Yeah. I basically mean an explanatory conception of a range) 11 Q Okay. Does in Intelligent Design? i
12 of phenomenon. And also that could serve as the basisfora |12 A ‘Probably net.
13 research program, for an empirical research program. 13 Q Why-not?¢
14 MR. ROTHSCHILD: I'm going to mark as Fuller Exhibjt 2 144A Well, because it's not well-substantiat _ And I think
15 the Complaint filed in this matter, 15 that's probably why they define theory is way. ;
16 (Marked: for identification Fuller Deposition Exhibit 16 Q Okay. y
17 No. 2), 17 A Because it sort of is prejudicial — it's ¢ort of ~- it's :
18 THE WITNESS: Oh, thanks. 18 quite biased toward a theory that's bees around for a long
19 BY MR. ROTHSCHILD, CONTINUING: 19 time and has been allowed to in fact inporporate lots of
20 Q If you-coald turn to page seven of the Complaint and look @| 20 —_facts, laws, inferences and so forth, right? It's very p
21 paragraph 13.2 21 _ biased towards an established theory.
22 A Yeah. ¢ é 22 Q Would you agree that the definition ih the National )
23 Q Yow see in the second line of that paragr ph, we har have vee 23 Academy — that the National Academy) of Sciences uses is more
24 definition | from the National Academy of. ‘Science — = Sclencgs: 24 rigorous or difficult to satisfy than the|definition you use?
25 for the word theory?# 25 A No. I think they're quite — they're different kinds of y
95 97
1 1 definitions in a way. I don't -- I don't bee it as more
2 a 2 rigorous necessarily. Let's put it this way. Their Y
3 3 definition wouldn't necessarily encoufage you to continue
4 4 doing science. . L
5 5 Q Okay. Would you agree that your d¢finition incorporates
6 Q Isthata definition of scientific theory that you're 6 __ scientific propositions that are early in their -- very early
7 comfortable with? 7 in their development, whereas the Nalional Academy of
8 A Well, I don't think it has to be well-substantiated, and I 8 Sciences’ definition requires that the ¢oncept be much more ;
9 think it has to provide the basis for a research program. I | 9 developed? ;
10 mean, this is too static a definition. 10 A Correct. So by this definition, the only thing that counts
11 Q So you don’ accept this definition? 11 asatheory is a developed theory, by fhe National Academy of
12 A Idon' think it's sufficient. 12 Sciences. That strikes me as very strange.
13 Q Okay. You would add the content that it has to assert -- 13 Q_ Ifyou go to the top of page two — and let me just --
14 create the basis for a research program? 14 actually, I'm going to read to you, ani I'm sorry, I don't L
15 A That's correct. 15 _— have an extra copy -- or maybe, actually —
16 Q And you would remove the word well-substantiated? 16 MR. GILLEN: Want me to make one? ;
17 A That's right. I don't think that's necessary. 17 MR. ROTHSCHILD: No, actually, I may have it. Mark this
18 Q Okay. Using your definition of theory, scientifictheory, ]18 as 3.
19 does the theory of evolution qualify? 19 (Marked for identification Fuller Deposition Exhibit L
20 A Yes. 20 No. 3) :
21 Q Does the theory of Intelligent Design qualify? 21 BY MR. ROTHSCHILD, CONTINUING: :
22 A Yes. 22, Q Fuller — the document I've marked as Fuller Exhibit 3 is a E
23 Q Does creationism qualify? 23 __ press release issued by the Dover Asea School District. And y
24 A No, because -- well, not creationism in that six day sense we24 you sec at the bottom that there is a btatement that the :

 

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25 (Pages 94 to 97)

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98 100 |:
1 class; do you see that? 1 the tests that are undergone in science Have that quite
2 A Yes. 2 specific character saying I've got a fact, it shows that this
3. Q Okay. And at the bottom of the page the statement states, a 3 is right or this is wrong. It's only undey very kind of
4 theory is defined as a well tested explanation that unifies a 4 controlled conditions you can normally| do that sort of thing.
3 broad range of observations. Do you see that? 5 Otherwise, these tests are of a much mdre indirect kind,
6 A Yes. 6 where you're providing challenges thatiyou think the theory
7 Q Do you accept that as a proper definition of a scientific 7 needs to answer to.
8 theory? 8 Q Okay. Soa couple questions there. way,
9 A I think I would replace well tested with testable. 9 . in which Intelligent Design has been‘ed
10 Q Okay. Using your amended definition, is evolution a theory? | 10 MR. GILLEN: Objection to form
11 A Yes. 11 THE WITNESS; £
12 Q Is Intelligent Design? 12; case.
13. A Yes. 13. BY MR. ROTHSCHILD, CONTINUING
14 Q Okay. Using the definition without your amendment, is 14 Q Okay. You --] think you're suggesting it has been
15 evolution a theory? 15 conceptually tested by the -- has been ¢onceptually tested by
16 A Yes. 16 the challenges raised by critics?
17 Q Okay. Is Intelligent Design? 17 A Yes, yes.
18 A Idon't know. 18 Q I'mailittle troubled by this idea that ajconcept would
19 Q And is the criteria that calls you to question that the issue 19 attain some scientific pedigree as a tested proposition
20 of well tested? 20 __ solely by the fact that opposing scientibts have found
21 A Yes. 21 problems with it. I mean, how does that -- how does that
22 Q Okay. Do you -- and you don't have -- you don't know whethey 22 advance a scientific concept if all that happens is the
23 ~—_—sIntelligent Design can be characterized as well tested? 23 _— proponents of the idea raise a concept pnd, you know, a bunch :
24 A Well, it certainly has been tested, you see. And I think -- 24 of other scientists demonstrate what's ¢onceptually wrong
25 and it is testable. But again, it's this issue of the age of 25 with it?
99
1 the theory because well tested suggests, you know, it's been 1 A Well, first of all, the fact that they bopher doing it at
2 around a while, and it's been tested lots of times in lots of 2 all, and the terms in which they do it i$ familiar from other
3 different ways. And I don't think that's true, you see. But 3 things that they are considering in their science, right.
4 that's not necessarily any fault of the theory itself, you 4 So, I mean, this is where people like Ifembski and Behe are
5 see. . 5 really making advances over creation science, if you're
6 Q How has Intelligent Design been tested at all? . 6 making that kind of comparison. Nantely that they're now
7 A Well, I think we were just talking about Dembski, for 7 being answered in the coin of science] Okay. And in a way,
8 example, right. And we were talking about these 8 they're being answered in ways that sqrt of brings their
9 counterexamples to his definition of the explanatory filter. 9 concems close together to the concerts that are already
10 Those counterexamples is a kind of testing at a conceptual, 10 _ taking place, you know, in other seta of science. So it
11 level, right, because what he's doing is putting forward a 11 seems to me that this is an implicit acknowledgment of
12 mathematical formalization of a concept, and here a 12 bringing them in the scientific ambit. | And I don't think we
13 philosopher is coming up with counterexamples showing how it! 13 should get too fussy about empirical testing, because as more
14 doesn't -- how it doesn't apply. So there's a test, right? 14 and more science gets done on compihers and other kinds of
15 Also, I guess in the case of Behe, trying to come up with 15 simulation devices, the idea of there Heing direct empirical
16 altemative explanations. You know, so Behe says the only 16 tests of things, you know, is going to pe increasingly
17 way you can explain the way the cell maintains its stability 17 limited. I think these kinds of things that we're seeing
18 is through irreducible complexity, and some evolutionists 18 here is going to be much more indicafive of the kind of
19 say, no, we've got an alternative explanation. Right. So in 19 science that's going to happen in the future, where you have
20 = asense, the exclusiveness of the explanation being proposed 20 alternative computer models that can Benerate the same sort
21 has been challenged. These are tests, right? I mean, 21 of phenomena that you can say can only be generated one way. |:
22 ‘they're -- they're not necessarily tests in the sense of 22 And the design guys like to play around with that. And it
23 coming up with a fact that shows that something is 23 seems to me a lot of science is heading in that direction. :
24 definitively right and wrong, but then in science, you know, 24 Q I mean, see, here's my problem. You know, I can come up wit :
25 relatively little is actually -- you know, relatively few of 25 the assertion that all of biological lifq is made of :

 

26 (Pages 98 to 10

 
 

 

  
  
  
  

 

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1 since I haven't read the pieces, I'm only sort of guessing 1 Q I mean, again, I'm going to come back fo this point I think I
2 what I imagine the research strategy is. But I take itthat | 2 was trying to make at the — this afternpon. That you're

3 he's basically trying to show that there's a sense in which | 3 equating the presence of criticism with testability is that

4 there are certain kinds of phenomena that evolutionary 4 a — I mean, am I -- q

5 accounts cannot explain, and so whenever an evolutionary | 5 A That's --

6 account is purported, he wants to say, well, in fact they 6 MR. GILLEN: Object to form.

7 can't explain everything and that this other account with 7 THE WITNESS: Well, that's —- that's basically correct.

8 irreducible complexity, we'll be able to do that. And so 8 Yes. Yes, that's right, because I think|--.I want to move

9 it's a sort of battle of dueling accounts for various natural | 9 away from sort of the stereotyping of testability as someho
10 phenomena to get presented. I take it that's kind of - and | 10 coming up with some sort of cm precise predictio:
11 if that is in fact what he's doing, then that would be 11 let's say during an experiment, becauge, I mean, that's --
12 scientific. But I'm just -- again, I haven't read the 12 __ that's a kind of classic paradigm case pf how we talk about
13 articles. 13 scientific testability, but it's not necessarily
14 Q So you don't know? 14 _ representative of all the forms of stil that are used

15 A Idon'tknow. But I do think, you know, I mean, I think pe in science.
16 reasonable to suppose that that's what he's doing, given that 16 BY MR. ROTHSCHILD, CONTINUING:

17 _he's publishing in the area and so forth. 17 Q Right. And as far as I can tell, the oply form of

18 Q But you'e speculating on what the -- 18 testability that you have identified foy these Intelligent

19 A Yes, I'm speculating. 19 Design propositions is the fact that they are susceptible to

20 Q Okay. And now going to Dr. Dembski, I think what you'#e20 criticism?

21 saying is he came up with this concept of the explanatory -] 21 MR. GILLEN: Objection to form,

22 ~~‘ explanatory filter, there's been some criticism of it, he has | 22 THE WITNESS: Well, I mean, ypu make it sound like
23 adjusted his definition; is that fair? 23 that's mere. I'm not sure what the spirit is in which you're

24 A Yeah, I think that's right. I mean, so he has been 24 saying criticism. I mean, first of all, fhe criticism

25 continuing along with the same trajectory, trying to take | 25 isn't -- the criticism comes in rather specific form, right?

 

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1 into account the criticism. I think that that's basically — 1 Namely, coming up with counterexamples or coming up with °
2 and that's not surprising. 2 counter models in the case of Behe, right, which in effect
3° Q Okay. And can you explain what he originated with and how | 3 you know, bring forward various kinds of other consideration:
4 it's changed? 4 that need to be taken into account. Solit's -- you know, the
5 A Well, I mean, in terms of what he originated with, I think he 5 word criticism shoulda't be reduced to|something like
6 originally sort of set up something like a, you might say a 6 carpeting or something, you know, as jf, you know, all's
7 menu by which you make the inference that something is se 7 they're doing is, you know, treating, ypu know, just sort of
8 _ based, and who you've managed to say that it cannot be 8 plugging holes. They're in fact engaging with it, right, in
9 explained by either strict physical regularity or by chance 9 ways that forced Behe and Dembski tg sort of, you know,
10 occurrence. And he listed some conditions one would foliow, | 10 rethink -- and to varying degrees, what exactly, you know,
il and then people brought up counterexamples to this. And he 11 how they should proceed after that. Sp it's not a trivial
12 has adjusted the theory to be able to deal with those 12 thing to do.
13 counterexamples. I cannot say whether he's dealt with it 13. BY MR. ROTHSCHILD, CONTINUING:

14 sufficiently that he's going to fend off all counterexamples 14 Q Well, and I don't mean to treat it as ttivial. But I do --

15 in the future. But he is continuing along the same lines, 15 I'm trying to confirm that in terms of how Behe's and

16 only a corrected version of it. 16 Dembski's work has been rendered testable, the only real life
17 Q And does this correction fit your definition of a research 17 __ examples of that that you are aware of is that the phenomeno:
18 trajectory where more of Intelligent Design's claims are made | 18 that it's -- they have elicited criticism] is that fair?

19 testable? 19 A Yes. But, I mean, I'm not sure in the normal mun of science
20 A Well, yes, in the sense that I think it, you know, it does 20 what else you'd be looking for given that most scientific

21 open up this field to critics in the future to -- because 21 claims aren't directly testable in that ¢lassic, you know,

22 he's still sticking with the same method largely, right, so 22 empirical prediction kind of way that] we talk about in

23 people are in a sense getting used to the way he operates. 23 philosophy of science 101. Okay. Sb I'm not sure what the

24 — And so it should make it easier in the future to criticize 24 alternative that's in the back of your mind would be to

25 him, I would think so. 25 what's happened to them, given the mature of the kinds of

     

 

 

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118 120 5
1 A Yes, yes. That's sight: 1 words, I don't think it's so — you know] Idon'tthink, you |.
2 Q Okay. And you aiso -- you used the term in your report 2 know, you can't -- I don't really know if there's a momentin |
3 metaphysical naturalism? 3 Intelligent Design work where you say, ah, you know, you're e
4 A Yes. 4 now entering the supernatural here. You now need a
5 Q What do you mean by that? 5 supernatural explanation. ] mean, that$ kind of more a term
6 A Well, what methodological naturalism is in practice. 6 a critic would use of it.
7 Q And explain what you mean by that. 7 Q Well, let me -- when --
8 A Well, I think -- see, naturalism is not an innocent view. 8 A Sois Intelligent Design supernatural Right? I mean --I
9 Right. I mean, one of the consequences of methodological 9 mean, certainly when the arguments ae being conducted abo t
10 naturalism is that you sort of presuppose the world has to be 10 it, you know, let's say to Dembski's vefsion, the word T
il a certain way in order for science to take place. So you 11 supernatural doesn't have to arise, but jt's quite clear the :
12 restrict yourself to certain kinds of, you know, phenomena 12 kinds of inferences he's making do tak us beyond what :
13 and ways of looking at the phenomena and close yourself off | 13 normally is accepted within naturalistip forms of science. |
14 to other possibilities. So you close yourself off to 14 Q When we talk about Intelligent Design, do you understand
15 Intelligent Design. And in the past, this kind of naturalism 15 Intelligent Design to take a position of who the intelligent
16 closed people off to looking at things like action at a 16 designer is?
17 distance with regard to gravitation attraction in Newtonian 17 A Not necessarily, though, I mean, historically, of course, a
18 mechanics. And in -- even arguably, people say that if you 18 certain kind of monotheistic conceptiqn of God has been
19 really took this kind of methodological naturalism seriously, 19 behind it. But I don't think the way the theories have been
20. you wouldn't be able to make much sense of quantum mechanic$ 20 _—_ developed recently you'd really requirp any kind of view on
21 as it currently is being made sense of, because that in a 21 this matter, that one could be agnostic} Yeah.
22 sense spends at least certain kinds of common sensical 22 Q Okay. And do you have an understanding of whether
23 notions of physical causation that are normally seen as 23 Intelligent Design takes a position on what the capabilities
24 rooted in methodological naturalism. So in that sense, 24 or powers of the Intelligent Design is [- designer is?
25 there's a kind of metaphysics that's associated with it. It 25 A Well, this is, again, I don't think there's any kind of --
119 121}
1 closes you off to appreciating certain kinds of phenomena.| 1 MR. GILLEN: Object to form. ye
2 So in a sense, calling it methodological is a bit coy. 2 THE WITNESS: I don't think thbre's any kind of unifo: p
3 That's what I would say. I'm using the term because that's | 3 view on this matter. And in that respect, it's very much :
4 the term Pennock, I believe, introduces. I myself would se¢ 4 led -- I mean, this respect -- you kngw. There's a sense in
5 naturalism as a metaphysical position. 5 which, look, the intelligent designey in a sense has to be
6 Q Soto you, methodological naturalism and metaphysical | 6 intelligent enough to produce, you Know, a cell, let's say,
7 naturalism or philosophical naturalism aren't really 7 that has some kind of organic -- you know, stability over
8 distinct -- 8 many different environmental changes. So it has to be that
9 A That's right. 9 powerful or that intelligent. But dops it have -- but it
10 Q -- concepts? 10 doesn't have to be infinitely powerfyl or intelligent. So in
11 A That's correct. 11 that respect, it is not committed to the fully robust notions
12 Q At-- certainly at the end of your report, and J think 12 of the divine creator that have been|associated with the
13 elsewhere, you say that ID rejects naturalism and is 13 Judeo-Christian tradition. Right. You could actually --
14 ~—_- committed to supernaturalism, right? 14 it's quite compatible with a much more restricted sense of
15 A Well, I think if you're going to take that kind of 15 intelligent designer.
16 distinction seriously, because I mean, the point I made sof BY MR. ROTHSCHILD, CONTINUING: ce
17 the naturalism/supernatural distinction is that it's a 17 Q Do you understand the intelligent designer, its proponents 0
18 distinction created by naturalists, right, who in effect -- 18 have provided any description of what capabilities the
19 who in effect say, look, these people aren't just considering] 19 intelligent designer has or would ned to have to do the
20 sort of the normal material world in which things operate, | 20 things that they say it has done?
21 but they also think there's this other stuff out there, 21 MR. GILLEN: Object to form. E
22 Intelligent Design or spirits or something like this. And -- | 22 THE WITNESS: Well, it all depends how you -- { mean}:
23 and so that's the supernatural realm. I think actually my | 23 look. There's a sense in which -- one of the reasons why |
24 view about what Intelligent Design people are doing is 24 Intelligent Design has been able to|be critically discussed
25 actually kind of blurring the boundary more. Soin other | 25 by other scientists and philosopherp has been because they |)

 

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146 148 —
1 including to the incorporation of religiously inspired 1 is now. Had I written this thing todaly, I would not put it
2 doctrines, for example, Intelligent Design theory, a/k/a 2 this way. I mean, these things are time sensitive. In that
3 creationism into mainstream science education. Do you see 3 respect, Intelligent Design has made [progress fairly rapidly”
4 that? 4 because in the course of whatever this is, seven years since
5 A Ub-bub, uh-huh. 5 this piece has been published, right, the status of this Es
6 Q And that's consistent with what you told me today, which is 6 thing has changed somewhat.
7 that Intelligent Design theory is a form of creationism? 7 BY MR. ROTHSCHILD, CONTINUING:
8 MR. GILLEN: Object to form. 8 Q And in what respect?
9 THE WITNESS: But it's -- no. But it's not all of 9 A Well, in the sense that I think it's more easily
10 creationism, and it's in fact the part of creationism that 10 disentangleable. So like even when|you were talking abo
11 —_ gets taken into science. So, I mean, ! mean, obviously, I'm 11 _ Intelligent Design theory, you were pble to nail it down to
12 just -- because in the time that this piece was written, 12 few people, right, who are in a way separable from the
13. right, so this was written in 1998, Intelligent Design theory 13 _ general creation movement. And I think that — you know
14 wasn't that widely used as an expression. So I put the 14 And I think that that's because of all]the, you know, not
15 _ creationism in there so people kind of have a sense of what 15 just the publication of the books, but also the way in whic!
16 _—_ exactly Intelligent Design is without me having to give a 16 the discussion of Intelligent Design has kind of moved off
17. whole song and dance about it, because I'm just using it as 17 _ its own space. So in a sense, you can talk all about
18 anexample. But I didn't mean to say that everything about 18 Intelligent Design now without bringing in all the other
19 _ Intelligent Design corresponds to everything about 19 schools of creationism, or the six --|you know, the six day }
20 creationism. 20 stuff or any of that.
21 BY MR. ROTHSCHILD, CONTINUING: 21 Q But that was not true in 1998?
22 Q But you -- what do you understand the acronym a/k/a to mean?] 22 MR. GILLEN: Object to form.
23 A Yeah, also known as. 23 THE WITNESS: I think in 1998 these things were mu
24 Q Okay. So- 24 more confused.
25 A Right. But in 1998, okay, we're talking -- you know, when 25 BY MR. ROTHSCHILD, CONTINUING:
147 149
1 did Dembski's book come out? 1998? I mean -- right? 1 1 Q Okay. Confused by who?
2 mean, we're talking pretty carly before this thing becomes 2 A Well, 1 just mean just generally speaking.
3 really crystalized as something that's separable from all 3 Q You for one?
4 these different branches of creationism. 4 A Look, I didn't say I was a creationist or Intelligent Design
5 Q So you're saying in 1998, Intelligent Design was more similar | 5 theorist. But I do think that -- I do }- I do find -- I have
6 to creationism than it is today? 6 found out more about it in the interim, I think it's fair to
7 MR. GILLEN: Objection to form. 7 say that I knew less about it back then. Largely because
8 THE WITNESS: I'm not actually -- I'm not actually 8 there was less of it to know, okay. [And I know more about
9 making any commitment to that in this parenthesis. I'm just 9 now. But again, this is seven years ago.
10 using it as a marker so that people can understand what 10 Q Okay. Now, when I asked you abput this before, you said
11 Intelligent Design -- since Intelligent Design theory was an 11 you'd been following this issue?
12 ascendant notion, what exactly -- how -- you know, in what 12 A Not -- I mean, but I never said 1 was an expert on this. I
13. __- conceptual space one should put that when thinking about what | 13 said I was following it, you know, kind of shadowing it.
14 religiously inspired doctrines mean. 14 That doesn't mean I'm an expert of it.
15 BY MR. ROTHSCHILD, CONTINUING: 15 Q I mean, you know, these -- Steve,/ words are pretty hard to
16 Q Okay. And Intelligent Design -- you were characterizing 16 escape. Religiously inspired d e a/k/a creationism.
17 _ Intelligent Design theory as a religiously inspired doctrine? 17 — And I think -- what I'm trying to understand is, you know,
18 A Well, it is, and to a certain extent is religiously inspired. 18 what about Intelligent Design cauged you to characterize
19 But to be religiously inspired is not to be religion. 19 it -- characterize it as --
20 Q Okay. And -- and you were equating it with creationism? 20 A Well, because --
21 MR. GILLEN: Object to form. 21 Q -- Creationism at the time?
22 THE WITNESS: I wasn't equating it. I wasn't equating 22 A Because all of the response -- lodk. All of the responses t
23 it. All right. I mean, I was just -- | was using it as a 23 Behe and Dembski and the line of[argument that that led --
24 ~—skind of -- asa placeholder for it in a period where this 24 led from to the present day happened after this. I mean,
25 term Intelligent Design wasn't yet consolidated in the way it 25 there is a sense in which, you knop, if you want to -- if you!

 

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1 creationism, that's true. 1 BY MR. ROTHSCHILD, CONTINUING;
2 BY MR. ROTHSCHILD, CONTINUING: 2 a8 att el
3 A 3
4 4
5 nD 5
6 MR. GILLEN: Object to form. 6
7 THE WITNESS: Well, I mean, the motivation. The 7
8 motivation for n patting forward rand Intelligent Desiga i is s from 8
9 2 divine creator. I mean, 9
10 casé. And I think it's 10
11 eee <7 these people. "But again, what makes it 11
12 science isn't that fact. I mean, again, all kinds of 12
13 religious motivations inform science. I mean, so there's 13
14 nothing, in a sense by calling it creationism what I'm doing 14
15 is I'm giving something about the motivation of the people 15
16 but not necessarily about the scientific status of what 16
17 __ they're doing. Those are two separate issues. You've got 17
18 context of discovery, context of justification. 18
19 BY MR. ROTHSCHILD, CONTINUING: 19
20 Q Okay. And so when you -- when you refer to this Intelligent { 20
21 Design work as creationist, do you -- do you mean it only in 21 Y
22 the sense that it's motivated by creationist interest? 22 :
23 A Yes. 23 :
24 Q Okay. And not anything about the content of Intelligent 24 Y
25  ~=Design? 25 we know about ourselves: and ;
155 157 |
1 A No, because in fact these people in practice don't actually 1 #odel for God; is that right?
2 say much about the qualities of the creator, right. I mean, 2A ys .
3 in that sense, they don't do a lot of the stuff of 3 Q Okay. Is that -- do you also -- are you also suggesting ing
4 traditional creationism. 4 that argument is scientifically problematic? :
5 Q They do suggest that the designer is a supernatural creator, 5 A Well, I don't seem to say that herd, do 1? No, no. The :
6 correct? 6 scientific side is a different argument, isn't it, right?
7 MR. GILLEN: Object to form. 7 Because there's two arguments here, right? There's a :
8 THE WITNESS: Well, I mean, yes. But that's not saying | 8 theological argument which is what we're talking about, but
9 a lot, you see. I mean, I just don't think that's saying 9 then there is also a scientific issue. :
10 very much. I think -- 10 Q Right, which is separate? :
11 BY MR. ROTHSCHILD, CONTINUING: 41 A Yeah. Ep
12 Q Do you -- go ahead. 12 Q Do you find the first argument which you focus on :
13. A No, no, no, you go ahead. 13 theologically -- ;
14 Q Do you consider that an aspect of creationism; that.a--that |14 A Yeah. .
15 “there is a= that. the explanations of life include. a 15 Q -also to be scientifically problematic? Because I can't
16 * supernatural creator? 16 get over it. :
17 MR. GILLEN: Object to form. 17. A I--see, my attitude toward this has changed a bit over thd’
18 THE WITNESS: Yes. I think creationism does presupposd 18 last seven years, okay? I mean, rps I would have said :
19 , that the creator is separate from the creation, in which case 19 yes back then, that it was problematic. But now I think th :
20 ; it is supernatu 1. Yes. I mean, so yes. 1 mean, it's 20 there's a sense in which, as so mu¢h -- I've mentioned this |
21 attached to a certain kind of cosmology which does involve a | 21 earlier. So much of science goes on to be done as compu! :
22 ~~ difference between the creator and the created. So it's 22 simulations, where the scientists in a sense has to be
23 true, supernatural in that sense. But again, I don't see 23 something an artificer, and that intludes when one is tryin
24 this as operating in a way that actually, in some way 24 to model the nature of life and the way in which life

visciates the science that's being done.

 

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Q No, no, I understand. But what I'm saying, you -- you -~3gfqu 1
made a point which | think | agree 2
Behe’s, you know, ; 3
one possibility, but there migh 4

A Yes. Demb— Dembski has a simi 5

Q kay. So both of them have 6

A Ub-hul 7

Q Yes? 8

A Yes, yes. © 9

Q Okay. But then I -- even granted your point, which I do, I'fal0
still troubled by the idea that even if you could eliminate | 11
all the, for example, natural hypotheses that have been 12
asserted, one could make a positive case for action by an 13
intelligent designer. And I'm trying to understand how that} 14
follows, which I -- I -- I think is the conclusory 15
proposition? 16

A Yes. I mean, yes. It doesn't follow. You're absolutely 17
right. But typically what happens in these kinds of 18
arguments, right, is that the Intelligent Design person, as | 19
the person who's always facing evolutionary challenge, has }@0
make the Intelligent Design argument more specified, right? 21

So what happens then is that the Intelligent Design argument 22

becomes more precise. So I think what -- I don't see it as
an inherent problem. It just means that there's -- there's
never going to be a decisive moment where the Intelligent

23
24
25

 
   

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by denying what -- I mean, if you got|-- if you got random :
mutation and natural selection as one|hypotheses, right, theg
the other -- you know, the other hypothesis could be one ,
where there is some kind of plan. since the cell had --
you know, the cell is designed the way it is so that it could |
survive many different kinds of changes in the natural
selection environment. That's not -- fhat's not an
incomprehensible notion, right? I m¢an, it's just to make
that specific so you could actually test whether it's, you
know, it's -- it's true in a certain situation, I think

that's the problem. It's not really spetified enough. But,
you know, I mean -- let me make a fgllow up point to this. :
Evolutionists and Intelligent Design people can go about :
criticizing each other and that's perfectly fine and that's j
very appropriate in science. But thege is also -- you know, )
but as it were, the -- the -- the relative scientific status
of the theories aren't just determined|by those clashes and
what happens in those clashes. But t's also determined by,
as it were, how they take it home to develop their own
theories independently. So if we take seriously the idea
that Intelligent Design theory is in a way trying to scope
out the phenomena of reality somewhat differently than the
evolutionists are, so it includes cosnjological issues and
maybe supernatural issues, even, in @ way in which |

 

 
  

 

tules out of court, right, then what you're also looking at

 

wo mana nN fF WN

NON NPP KE PP eB Pe ee

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Design argument wins by default by seeing off evolutionar
challenges. That's all it means.

Q But! --

A. It doesn't mean it ever -- at no point does it ever get shows
to be wrong. It —- what -- it shows it hasn't eliminated
alternatives.

Q And never would?

A. That's entirely --

MR. GILLEN: Object to form.
THE WITNESS: I mean, that's entirely possible. And

that's why some people object to the idea of inference to mr 11

best explanation as being a method in science, wherein a

sense, right, the question is always open as long as there l

are alternative hypotheses available. People who believe
the inference to the best explanation do believe that all the
opponents are eventually seen off.

BY MR. ROTHSCHILD, CONTINUING:

Q Allright. And -- and -- and -- what -- and I -- but I --
and I'm still trying to get to the point, we're talking about
inference to the best explanation. But I don't see how
Intelligent Design is unexplanation at -- what the -- what
the affirmative case is for Intelligent Design even being ong
of the alternatives?

A. Weil, I'm not sure. I mean, it seems to me that the
possibility of space for Intelligent Design is opened up just

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Q Goto the next page of the article, page 540. You invoke the Ee

  
 
 
       
    
      
   
      
   
 
    
  
  
  
 
 
     

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is not how -- not only how these two fheories relate to each :
other, but also how they develop in light of the criticism in
their own terms. Do they go to the places they're trying to
go to with regard to explanation and so forth? And so when [/
somebody like Meyer, let's say, wants to have this kind of
covering information theory as the me¢tatheory of Intelligent |:
Design, well, that's nothing -- you know, that's -- you know, Ee
evolutionists think that's just weird, right? But then he's :
trying to do something different. He's not trying to do what |
the evolutionists are doing. So while|they do confict over E
certain areas like how do you explain the cell's stability,
the overall goals of the research program are somewhat
different, and so there are different
they will then want to take forward
theories.

 

 

ds of concerns that

  

hen they develop their

well-known and highly regarded Fu
is if you appeal to metaphysical exp’

r's Fairness Rule, whic p

  
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their hand rhetorically. What do you mean by that? 1
A. This is -- yeah. I know -- I recall saying this. I just 2
can't quite find where you're looking at. 3
Q It's the second full paragraph. 4
A. Second full paragraph, okay. * 5
Q Towards the bottom of the page. 6
A Right. I mean, the point here being that -- that if ID is 7
able to provide a scientific explanation for something, that | 8
doesn't rule out the evolutionary one. But there's a 9
tendency to sort of see these things, I think on both sides,
in mutually exclusive terms. So if we can provide an il
explanation and you guys -- and you guys can't then, you | 12
know, in principle, we're the only ones who can. So, I meaq, 13

I do think that there's a tendency on both sides to think 14
that the two are sort of mutually exclusive. 15
Q And you say then epistemological letigmacy of ID doesn't | 16
require showing that evolution cannot provide a credible -- | 17
A. Right, right. 18

Q -- alternative framework, just requires showing that ID ns 19
an explanatory framework that can be the basis for a body of 20

scientific research? 21
A That's right. I was making that point earlier with regard to} 22
the fact that you just can't judge the legitimacy of ID just | 23
purely in terms of how it faces up against evolution. You | 24
have to see how it is able to develop the stuff in terms of | 25

A No, no, it has -- no, it isn't that. I me
that the cell has to have certain kind of

in order to have the stability it has so thpt it's able to

survive all the various changes in the
seems to me that that project, if it were
could be done independently of anythi
evolutionary theory. I mean -- I mean,
Intelligent Design could be pursued as
program.

10 Q So if - if Behe simply showed empirifal evidence of the ce

maintaining stability —

A Well, this is what I would say. I meag
that way. I would actually go to the computer simulation and
try to model the cell, right, and actually try to come up
with the parameters whose interactiong

cell, right, a virtual cell, simulation of

that is able then to maintain its stability

the kinds of environmental changes
cells as being able to survive in. Righi
able to do that, and so he could then sa
able to program a cell, and you can do
there's not going to be an alternative ¢
explanation for that. And as it were, t!
gauntlet down and say, you come up ¥
as designed as this, that in some sense

a we normally think o}

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, it's to say
mponents in place

vironment. Now, it
lly executed,

ig going on in

so in that respect,

an independent

   
  

, [wouldn't do it

end up producing a
t cell, right,
in the face of

. So if you were
ly, look, I've been
it this way, and
olutionary

hen throw the

vith something that isn't
has a kind of random

 

OMAN A PWN

eee

23

 

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its own framework. 1

Q And what is your understanding of the explanatory cane 2
ID offers other than the assertion that evolution doesn't
provide a credible framework?

A Well, I mean, this is where the explanatory filter and the 5
irreducibly complexity notions get mobilized as a way of 6
suggesting research avenues. I mean, that's -- that's the 7
basic -- that's what I mean by the explanatory framework, 8
that within which then research can be done. 9

Q But isn't irreducible complexity nothing more than the 10
assertion that the evolutionary framework doesn't work? 11
A No, it isn't more than that, 1 mean, because the issue then 12
depends -- determines -- it turns on how you actually develop | 13
this thesis, right. And presumably, what you want to do with | 14
the irreducible complexity is to identify as it were the 15
parameters that -- all of which have to be in place in order 16
to sell -- in order for the sell to have its stability the 17
way it does, and that there's no way of removing any of those ; 18
parameters without in fact undermining the stability of the 19
cell, and that evolution cannot provide an alternative to 20
that. So it seems that there is a self-contained research 21
program that perhaps has not been fully executed but is 22
suggested by the idea. 23
Q And I'm not sure what that is besides the fact that evolution 24
or natural selection isn't an adequate explanation? 25

 

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element or something, and you still pet this kind of

stability over time. [ don't think he'

done that yet, but

 

it seems to me it could be done. I
very difficult, but not out of the qu
tell you one advan -- one -- one thi
Design that I think is worth pointin
don't actually have departments an

of Intelligent Design, there's not a r
training people in the kinds of skill:
to sort of carry out a lot of the de
mean, that's a real problem, I think,

  
  
 

, it'd probably be
ion. I mean, I'll
about Intelligent
out is because you
schools and discipline
ady-made way of
that'll be necessary

ils of this project. 1
that they face

sociologically at the moment becauke, you know, if you've
only got a few guys kind of putting|forward bold hypothe
and trying to do very sort of striking bits of forays, you
know, challenging evolutionists, ydu can only go so far. Y:
really need to train generations of people. In fact, that --
you know, that's how any science survives. And it was onl

starting in the 1930's and ‘40's that

you start to be able to

train biologists who have a sufficient range of skills to
actually be able to contribute to Ndo-Darwinism as this

fully-fledged program that we see It

today. So, you know, i

a way, they do have a sort of sociological disadvantage her

They're basically trying to cover a
by themselves, and of course they

fot of the waterfront all
Hon't have all the skills

to do it. This is why they would nged a school of people to

 

 

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1 Q Uh-buh. You refer, I think at footnote 11 toa book by -- | 1 A No, Ihave not.

2 A Oh, yeah. 2 Q Why not?

3 Q -- Thomas Woodward, Doubts About Darwin. 3 A Well, I don't — I guess I just — I haven't thought I was in

4 A Yes. 4 aparticularly persuasive position to copvince the natural

5 Q What is that book about? 5 scientists about teaching anything other than what they

6 A Okay. This was a guy's Ph.D. thesis originally. And what }t 6 already do. I mean, so it just didn't to fall to me to

7 is, he basically followed various people around who've bee. 7 do that. I guess that would be the maiz reason. Also I do

8 debating the Intelligent Design/Darwin issue publicly. You 8 think there is this issue we keep on going back to about

9 know, so when Phillip Johnson and Stephen J. Gould were | 9 what's the appropriate faculty for di ing these matters
10 debating, I mean, he'd follow all these people across the 10 And that in the case of some of these things, that a
il country. And he's basically charting sort of the development 11 mathematics or statistics department njight be better than a
12 and the arguments that are taking place. And one of the 42 chemistry or biology department for allot of this stuff. So
13 _ points that he makes is that in fact Intelligent Design 13 _ I think there's a kind of open question about where exactly
14 _ people kind of have evolved, you might say, as they've 14 would you want to be placing the study of this thing.
15 interacted with scientists and they've made more 15 Q Same question applies to the high school level?
16 sophisticated arguments and so forth. And so there's been , 16 A Well, the high school level, the science courses are much
17 kind of learning curve, you might say, that now makes 17 more generic, aren't they? I mean, so}- and also I think
18 Intelligent Design a much more sophisticated theory through 18 there's a different purpose as well, use at the high
19 the interaction with the scientists. I mean, it's the kind 19 school level, there is a sense in whichlyou're trying to seed
20 of thing, you know, the sort of thing that John Angus 20 the next generation of scientists potentially. I mean, that
21 Campbell kind of says would happen, he sort of documents |t21_ was something that even your guy, Alters, brought out.
22. And as a participant observer, which means that he's kind 22, that it becomes important then to think about the different
23 there in the meetings, asks some questions, you know, and | 23 _ scientific perspectives in light of that, whereas by the time
24 then writes about it. 24 you get to university, people are training to be
25 Q Do you have any relationship with Mr. Woodward? 25 professionals already in a given science. So they're sort o

215 217

 
  
 
  

14 A Do Ihave any relationship with him? J did teach this book 1 already engaged in a kind of more technical sort of thing.

2 in -- at UCLA when it was still in its proof form. I mean, I 2 And that's -- it's harder to insitutionalize at that level.

3 know -- you know, and I have been in contact with him 3 I think it actually would be easier to i itutionalize at

4 actually because he does derive some kind of methodological 4 the high school level. .

5 inspiration from some of my writings in the appendix of the 5 Q Wouldnt it make sense at the undergraduate level, to seed

6 book. But I've never taught the man, I've never met him 6 the next generation of scientists, when the students are --

7 personally. By the way, the context I would say where ~- 7 A Well, okay. ‘

8 where he is drawing some inspiration from me relates to the 8 Q -- sophisticated?

9 questions that you were raising earlier about the tributary 9 A My--Ishould explain something. Britain, you come in
10 delta stuff, about the idea of broadening out the scientific 10 already specialized. 1 mean, you see, America, it's quite
11 base so that larger numbers of people can have access to 11 common for the first year or two of the undergraduate level
12 stuff. That's the kind of thing that he found intitially 12 to in a sense be searching around for @ major. And so, yes,
13 attractive, which comes up in this book mine on Thomas Kuhn. } 13 in that context, I think that's a -- that's actually right.

14 Q I think you said very early in our discussion that 14 So I take your point there. But I was thinking about the
15 Intelligent Design is not taught as part of the biology 15 British context, right, where you sort)of start
16 courses at Warwick University? 16 _ specializing — you get admitted into @ university in a

17 A That's correct. 17 subject. And that's why the degree program is a three year
18 Q Okay. And -- 18 rather than a four year program.

19 A But we do teach, you know, in this philosophy master's degree] 19 Q Could you turn to page 11 of your report.
20 thing, we do teach it. And so ~ 20 A Yeah.

21 Q Okay. But I'm correct that it's not part of any of the 21 © Andat the bottom paragraph, you talk -- you talk about most
22 natural sciences curriculum? 22 _ philosophers having resisted the chakms of naturalism.
23. A No,no. 23 A Yes.

24 Q Have you ever advocated at the university that Intelligent 24 Q And that's -- | take it you're distinghishing them from
25 Design be taught as part of the natural sciences curriculum? 25 scientists who, to a large extent, ha

   
 

 
 

succumbed to the

 

 

 

55 (Pages 214 to 217)

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Q Have you taught any classes in education?

A Yes.

Q What have you taught?

A. Well, I've taught a cross-listed class at UCLA between
library and information science and education.

Q And what was the subject matter of that class?

has some credibility in these areas.
Q Do you consider yourself an expert in Intelligent Design?

A. It was on my own -- my own work on social epistemology my 7

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Q And why do you say that? !
A Because humans are the intellige:

Q And how do you understand we come to that knowledge with L

A_ How do we come to that knowled;

Q And am I correct in unde:

A Yeah, I would say so. I would sal that's ultimately what's

of 25

's sort of an extension
no problem with

understanding the nature of life, t!
of the idea, because J think we hav:
Intelligent Design with regard to

 

who are designing the
from. We actually
how these things are

things. I mean, we know where it
know the causal process in terms 0:
produced.

   
  

artifacts?

 

2 Well, largely because we f
could do it ourselves. Right. We actually produce
these — we can say -- I can say, } T'm going to design a
cat. I'm doing it, it's done. Here's the car. And you can
sort of lay out the steps by which if happens. You can talk
about the general blueprint, how the blueprint's supplied
materially to make the thing run then it works. And so
you have a complete sense of that ¢ausal process there. And
so that's the kind of paradigm case|I would say of
Intelligent Design.
your testimony from a
couple minutes ago that that kind
speak, is the model for the design
biological life?

f design inference, so to
rence being used for

 

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12
13

 

A Anexpent in Intelligent Design. No. 10
Q Okay. 11
A I'm an expert on the nature of science. 12
Q Gotcha. Okay. Do you consider —- do you consider 13
yourself — you said that Intelligent Design is science. 1 14
think — ] think we can agree, you're basically saying it's 15
science but not as far along as some of the other natural 16
sciences? 17
A Yes. 18
Q Okay. Do you consider yourself an expert on the scientific 19
content of Intelligent Design? 20
A Tm not sure what you mean by that. 21
Q Well, let me ask you, let me ask you, what is Intelligent 22
Design? 23
A What is Intelligent Design? Well, it's an attempt to explain 24
actually a vast array of phenomena, not just restricted of 25
51
the origins of life, in terms of some kind of design that was 1
put there deliberately. Now, the scope of the theory -- the 2
scope of this science is potentially quite large. In that 3
respect, it's very much like information science, that in a 4
way, doesn't have to be restricted to a single domain. So 5
it's just not about life. It could be about anything that 6
displays this design pattern because machines, obviously, 7
have Intelligent Design, right, and they're not forms of 8
life. So it is —- in a way, it's kind of almost like a 9
second order science, like information theory attempts to be. |} 10
I guess that would be how I would pitch it. rit
Q You used ~ you know, obviously, the word design is in the | 12
term Intelligent Design. 13
A Yeah, yeah. 14
Q What do you mean by design? 15
A Well, it's very unlikely that the order that is produced 16
would have come about through — through chance, right, that | 17
there isn't some sense, some plan there that the order was 18
meant to be there. I mean, the model for it in an artifact 19
ora machine. Something, obviously, a human has designed. ] 20
mean, that's -- I mean, in that respect, you know, Paley sets | 21
a kind of benchmark for what the image of the -- of what the ] 22
science is about. And that's why — that's the -- sort of 23
the natural way to understand this. And then with all the 24
stuff that's going on now with Intelligent Design 235

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53 §
being aimed at. Yes.

Q Here's what I don't understand. Aid maybe you can belp clea
this up for me. You explained how we understand design of
human artifacts from the -- and you said, you know, we can
understand it because we can do it, right? How does that
provide a model for design of bio

A Well, I think the best way to thi
with what -- imagine computer si
are increasingly in the biological E
to project backward into how life began, where, you know, we E
have recourse -- we of course have recourse to fossils to a :
certain extent. We can get some dense of what life was like ;
in the beginning that way. And wé can do some DNA testing on :
that. But increasingly we have to|rely on computer
simulations. And computer sim

 

 
  
  
 
 
  
 

tions are design functions,
right, where you're programming p system to behave in a
certain way, and then you see the outcomes are. And you
say, well, okay, let's say that Ii ine that the world was
designed with these three or four parameters that interact in

a certain way according to a computer program I can

specialize — specify. Well, that
we know it. Okay. If it does, ri
for design, it seems to me. If not!

 
 
 

n produced the world as
t, that's a good argument
you know, back to the

drawing board. But the point is we're already doing stuff in
science where we're actually engaged in design like

   

 

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f 14 (Pages 50 to 5
 

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activities.

Okay. So I don't think it's so far-fetched in
principle, especially in the period in which we're living,

 

1 1 A Yeah. I mean Dembski and Behe.| That is to say, not the high f:
2 2 school textbooks. ;
3 3 Q Okay. So let's just be clear what you mean. And let me ask
4 where we're doing more and more of our science on computer | 4 this in a couple of - a couple questions about this. First

5 programs which requires that the scientist actually design 5 of all, you said you're not — you dop't hold yourself out as

6 the situation in which the phenomenon is going to manifest 6 — anexpert in the content, the scientific content of

7 itself. I mean, so I -- I don't see — J don't see quite the 7 Intelligent Design, is that right?

8 problem in principle here. 8 A We haven't gotten back to what yqu mean by that yet. Can
9 Q Well, why would the fact that humans can design a model lead} 9 you ~- you just threw the question Hack at me. So what do

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10 us to any conclusions about what a non-human, non-natural 10 = you mean by scientific content? E
11 actor can do in terms of creating some form of biological ii ‘Well, okay, fair enough. What dd you understand to be the
12 life? 12 core propositions of Intelligent Design as it applies to j
13 A Well, just stated that way, sure. You're absolutely right. 13 _ living things, biological life? :
14 —_ But that's not -- that's not the whole story, right? In 14. A What do J understand them to be?
15 fact, you know, this is where one — I mean, the point is 15 Q Yes. p
16 that even people who don't consider themselves proponents of | 16 A Well, it depends which -- these guys don't all hold the same
17 Intelligent Design are in fact, you know, playing around with {17 views exactly. Okay. That's the point, right?
18 models that, in a sense, put them in the position of 18 Intelligent Design is, in a sense, kind of a covering term
19 potential designers of universes. Okay. So in a sense, 19 for a lot of overlapping theories, you might say. I mean, :
20 science is moving in a design oriented direction already. 20 there is this business of — 1 mean, that Behe emphasizes of
21 It's just the people doing it who, let's say, do complexity 21 the irreducible complexity of cellular life. But then
22 theory and stuff like that don't like to call it Intelligent 22 there's also the business with Dembski and the idea of design L
23 Design. But in a sense, they'te adopting the standpoint, you 23. ~— as a kind of explanatory filter that js not as probable as )
24 know, that would seem to me ultimately Intelligent Design is || 24 just mindless natural regularity, but not as improbable as ;
25 trying to work itself back to. That's why so many of these 25 chance. So these are kind of gencyal notions that these guys ;
a
55 57 £
1 arguments are arguments that, in a sense, are meant to be [= working with as providing co ints on the possibility
2 conducted on computers under mathematical terms. It's not}+-2 for life. Okay. And they're eet from somewhat y
3 it's not -- the old -- it is true that with Paley and a lot 3 different directions. So, I mean, that's what -- at least :
4 of these old guys, there is some kind of analogy which is 4 that's what I understand to be distinctive about the p
5 parasitic on the idea that, you know, human beings are madg¢ 5 position, right, in the sense it makes it different from what E
6 in the image and likeness of God. So if humans can do it, | 6 evolutionists are saying. :
7 then God can do it kind of in a bigger way. I understand 7 Q Okay. So if — the answer to the| question, you know, what is
8 that, and that's the theological basis for the design 8 ID comprised of from a scientifi¢ standpoint is Behe's notion E
9 argument. But it seems to me now with science, we've got | 9 of irreducible complexity?
10 sort of — we're now in a situation where the way we actually 10 A Yeab. And Dembski's explanatpry filter. And those are the
11 do science is one where we're in the design position, and {11 basic explanatory principiecs, the fundamental ones that are
12 we're kind of doing the sorts of things that let's say a 12 _ being developed now, it seems tq me.
13 creator would do if they were simulating a universe. And sq. 13 Q Other than those two explanatofy principles, are you aware
14 I don't see the -- you know, so it's sort of a different 14 any other explanatory principles that are part of the
15 basis for making the inference. Now, whether you're going | 15 Intelligent Design as a scientific boncept?
16 ‘to -- you know, I mean, I would suppose the tough question} A Well, I would say at this level af generality, those are the
17 whether there would ever be any kind of empirical way of [17 main ones. I mean, there's — has this sort of an
18 resolving whether a simulated universe designed by ahumah18 _ information specification criterign as well. But, you know,
19 being, to say this is how the world happened, could ever be} 19 —_ if you were to look at any given Bcience, you'd only come up
20 proven empirically. And I don't know if that could happen.| 20 —_ with about two or three fundamental principles for any of
21 But then again, evolution's stuck with that problem, too. 21 ‘them any way. So the fact that there aren't a whole Jot of
22 Everybody's kind of stuck with that problem. 22 ~~ them, and they all seem to overlap or have something in
23 Q One of the things you say on the first page of your report common, that itself is not prejudicial, it seems to me.
24 my expertise experts to a consideration of [D in its most ae Oe not characterizing. I just want to make sure J
25 developed forms. 25 understand what you understand Intelligent Design to be.

 

 

   

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15 (Pages 54 to 57)

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1 A Well, creation science was originally an attempt to sort 1 | see, so all of that I think is indicating that Intelligent
2 of — I mean, I think in light of the Arkansas case, right, 2 | Design is really scientific, and isn'| very much reliant
3 it was seen as a way of trying to bring in these biblical 3 Q anymore in whatever historical connections it's had with
4 principles into the science classroom by making it look as | 4 \\ religion. ~
5 though there were scientific grounds for holding what turngd5 Q If you took Dembski's work away, and you took Behe's work /
6 out to be biblical beliefs. And so sometimes fossils would | 6 away, and I understand you're not poing to do that. But
7 be appealed to, sometimes they would be dismissed out of |] 7 would there then be any distinction between Intelligent
8 hand, depending on what kind of suited the purpose of the | 8 Design and creationism?
9 textbook writer. But there was no real clear evidence of any 9 A Well, there's Meyer where I ~
10 kind of internal development taking place. It was rather, it] 10 MR. GILLEN: Object to form,
11 seemed like kind of camouflage strategy. I mean, at least | 11 BY MR. ROTHSCHILD, CO G:
12 that seems to be the final verdict on this. 12 Q Let me just finish. I mean, in other words, if you took Bebe
‘13 Q And do you — to you, Intelligent Design is different than 13 away and you took Dembski away) and they'd never written,
14 creation science? 14 —_ nobody had replaced them, would lyou have any basis then to
15 A Yes,1 think so. I think — not only do I think it's 15 _— say Intelligent Design has developed in a way that
16 different, I think also its critics treat it differently. 16 _ constitutes science?
17 That is to say, including the critics who don't want to see | 17 MR. GILLEN: Object to form,
18 _sit taught. 18 THE WITNESS: Well, let's seg. First of all, we haven't
19 Q And in what respects is Intelligent Design different than | 19 talked about Meyer's work which I'm not intimately familiar
20 _—_— creation science? 20 with. But of course there is that sort of strand there as
21 A Well, because you, first of all, Intelligent Design actually [21 well. But J take it you're after -- ybur -- the thrust of
22 more self-consciously draws on these wider traditions of [22 your question is that, you know, if] you took away these three
23 Westem thought from natural theology and onward that hay@3 —_guys or four guys, or how many, you know, finite number of
24 been marginalized by Darwin which try to deal with larger] 24 guys, would there be any Intelligent Design? I actually
25 questions about the nature of life, and which did have somq 25 _ think ~- see, we've so far been di ing this issue of
P—— — ot 93
1 kind of, you know, proto-scientific development. Like 1 Intelligent Design as something that is mutually exclusive
2 Paley's argument and so forth, and then tries to put it in a 2 from evolutionary theory. And I understand that because of
3 more scientifically rigorous form like Dembski's done with 3 the nature of the case we're talking about. But within p
4 the explanatory filter. And so you do see a development. 4 evolutionary theory, within evolutionary theorists, there ;
5 And you also ~— and in the way in which the critics treat it. 5 _ has ~- there have been tendencies in that direction as well. d
6 So when the philosophers are debating with Dembski, they 6 So it's not like Intelligent Design # something completely :
7 explicitly say, let's put aside his religious assumptions and 7 alien to people who we would normally consider to be
8 just deal with his arguments on their face. And the kinds of 8 contributors to evolutionary theory. I mean, you actually :
9 arguments they give, first of all, it's published in their 9 have people, I cite Theodosius Dabzhansky, for example, who's
10 main peer reviewed journals, in the Glossary of Science in 10 one of the founders of the Neo-Darwinian synthesis who's a ;
11 the United States. And he responds there. And it's an 11 —_ geneticist, who quite obviously topk Intelligent Design
12 _—_ argument that, you know, they could be having with anyone, [12 _ seriously and didn't think of it as Being exclusive of Ee
13 right, who they would normally respect as being scientific 13 _—s evolution. Right. So -- so ~ so the thing is that what b
14 and so forth. And Michael Ruse, when he writes, I mean, he's} 14 | would be — yeah. I mean, there ig a sense in which the E
15 au interesting guy to have watched over the last 20 years 15 _ Intelligent Design movement as it's understood today, you
16 since he's writing a book a year on this kind of stuff. 16 know, as this is kind of American|phenomena defined by these
17 And, you know, the -- you know, the Darwin End Design, 4.17 guys who made the assumptions ih association with the
18 book that came out in 2003, there he quite explicitly, when 18 Discovery Institute, I mean, theres a sociological way of
19 he discusses Intelligent Design, he makes the connections 19 defining them. Yeah, maybe that|form wouldn't exist. But
20 with the natural theology tradition, he treats it in a very 20 __ the general ideas and stuff, I mead, are still lurking there
21 kind of respectful manner, and in fact he says that, you 21 in evolutionary theory. And thera is stuff that these people
22 know, these views that these guys are putting forward these | 22 have already developed that could be taken, you see. 1 mean,
23 days could be easily confused with kind of respectable 23°. so~ I'm sorry. I don't know if that answers your question.
24 scientific views. And that's something you wouldn't -- they {| 24 But I was trying to sort of —
p25 wouldn't have said 20 years ago about creation science. You # 25 BY MR. ROTHSCHILD, CONTINUING:

 

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24 (Pages 90 to 9_

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1 Q I want to go through some of the assertions in your report. 1 because there is no research prograth generated. e
2 If you could tam to page one, you have a section titled at 2 Q What about creation science? F
3 the bottom of the page is evolution fact or theory? 3 MR. GILLEN: Object to form. ;
4 A Ub-huh. 4 BY MR. ROTHSCHILD, CONTINUING: y
5 inp text thet Soliows “ |,5 Q Does that qualify as —
6 ; evolution is both a fact nad a theory, is tat, 6 A No. Not in the — not in the terms {hat we were talking
7 about earlier.

io ge
9 Q Okay. And when you use the word theory for a scientific
10 proposition, do you have a specific definition in mind?

11 A Yeah. I basically mean an explanatory conception of a range
12 of phenomenon. And also that could serve as the basis for a
13 research program, for an empirical research Program. °

4 ming
15
16
17 TA Because it sort of is prejudicial ~ ft's sort of ~ it’s
18 quite biased toward a theory that's been around for a long
19 time and has been allowed to in fact incorporate lots of
20 facts, laws, inferences and so forth] right? It's very
21 biased towards an established theoty.

22 22 Q Would you agree that the definitign in the National
23 Academy — that the National of Sciences uses is more
“4 rigorous or difficult to satisfy than |the definition you use?
25 A No. I think they're quite - they're different kinds of

97 §
a1 definitions in 2 way. I don't ~ I ddn't sec it as more
2 rigorous necessarily. Let's put it this way. Their
3 definition wouldn't necessarily you to continue
4 doing science. .
; 5 Q Okay. Would you agree that your definition incosporates
6 Q Is that a definition of scientific theory that you're 6 __ scientific propositions that arc in their -- very carly
7 comfortable with? 7 in theirs development, whereas the [National Academy of
8 A. Well, I don't think it has to be well-substantiated, and J 8 Sciences' definition requires that the concept be much more
9 think it has to provide the basis for a research program. I/ | 9 developed? ;

10 —_ mean, this is too static a definition. 10 A Correct. So by this definition, the only thing that counts [IE
11 Q So you don't accept this definition? { 11 8 a theory is a developed theory, by the National Academy off
12 A I don't think it's sufficient. [12 Sciences. That strikes me as very strange. y
13. Q Okay. You would add the content that it hasto assert — | 13 Q If you go to the top of page two + and let me just —

14 create the basis for a research program? 14 _ actually, I'm going to read to you,/and I'm sorry, [don't
15 A That's correct. 15 shave an extra copy -- or maybe, -

16 Q And you would remove the word well-substantiated? 16 MR. GILLEN: Want me to ao p
17 A That's sight. I don't think that's necessary. 17 MR. ROTHSCHILD: No, ly, I may have it. Mark this £
18 Q Okay. Using your definition of theory, scientific theory, [18 as 3.
19 does the theory of evolution qualify? 19 (Marked for identification Fuller Deposition Exhibit E
20 A Yes. 20 No. 3)
21 Q Does the theory of Intelligent Design qualify? 21 BY MR. ROTHSCHILD, CO iG:
22 A Yes. 22 Q Faller — the document I've as Fuller Exhibit 3isa = E
23 Q Does creationism qualify? 23 _preas release issued by the Dover|Area School District. And
24 A No, because — well, not creationism in that six day sense WF you see at the bottom that there iq a statement that the :

were talking about earlier. Presumably that's what you meagz school district is going to read to btudents in biology

 

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25 (Pages 94 to 97)

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1 class; do you see that? 1 the tests that are undergone in sciente have that quite
2 A Yes. 2 specific character saying I've got a fpct, it shows that this
3 Q Okay. And at the bottom of the page the statement states, a 3 is right or this is wrong. It's only uader very kind of
4 theory is defined as a well tested explanation that unifies a 4 controlled conditions you can normal
5 broad range of observations. Do you sce that? 5 Otherwise, these tests are of a much
6 A Yes. 6 — where you're providing challenges
7 Q Do you accept that as a proper definition of a scicatific | 7 needs to answer to.
8 theory? 8 Q Okay. Soa couple questions there
9 A I think ] would replace well tested with testable. 9 _ in which Intelligent Design: has bee:
10 Q Okay. Using your amended definition, is evolution a theory? | 10 MR. G
11 A Yes. 11 _THE
12 Q Is Intelligent Design? 12 4,000.
13 A Yes. 13 BY MR. ROTHSCHILD, CO!
14 Q Okay. Using the definition without your amendment, is 14. Q Okay. You — I think you're sugg
15 _— evolution a theory? 15 conceptually tested by the -- has be
16 A Yes. 16 _ the challenges raised by critics?
17 Q Okay. Is Intelligent Design? 17 Yes, yes.
18 A Idon't know. 1 I'm a little troubled by this idea that a concept would
19 Q And is the criteria that calls you to question that the issue 19 attain some scientific pedigree as altested proposition
20 of well tested? 20 | solely by the fact that opposing scientists have found
[21 A Yes. 21 problems with it. I mean, how does that —- how does that
22 Q Okay. Do you — and you don't have -- you don't know 22 advance a scientific concept if all that happens is the E
23 Intelligent Design can be characterized as well tested? 23 _— proponents of the idea raise a concept and, you know, a bunch [
24 A Well, it certainly has been tested, you see. And I think -— 24 of other scientists demonstrate what's conceptually wrong :
25 and it is testable. But again, it's this issue of the age of 25 with it?
x
ee 9
1 the theory because well tested suggests, you know, it's been 1 |A Well, first of all, the fact that they bother doing it at
2 around a while, and it's been tested lots of times in lots of 2 all, and the terms in which they do] if is familiar from other
3 different ways. And I don't think that's true, you see. But 3 things that they are considering in their science, right. Ee
4 that's not necessarily any fault of the theory itself, you 4 So, I mean, this is where people like Dembski and Behe are E
5 see. . 5 really making advances over lon science, if you're ;
6 Q How has Intelligent Design been tested at all? . 6 making that kind of comparison. ely that they're now :
7 A Well, I think we were just talking about Dembski, for 7 being answered in the coin of science. Okay. And in a way,
8 example, right. And we were talking about these 8 they're being answered in ways that sort of brings their E
9 counterexamples to his definition of the explanatory filter. 9 concems close together to the con¢erns that are already :
10 Those counterexamples is a kind of testing at a conceptual 10 _—_ taking place, you know, in other fields of science. So it b
11 level, right, because what he's doing is putting forward a 11 seems to me that this is an implicit acknowledgment of
12 mathematical formalization of a concept, and here a 12 bringing them in the scientific ambit. And I don't think we
13. _ philosopher is coming up with counterexamples showing how it| 13 should get too fussy about empiriqal testing, because as more
14 doesn't — how it doesn't apply. So there's a test, right? 14 and more science gets done on computers and other kinds of
15 Also, I guess in the case of Behe, trying to come up with 15 simulation devices, the idea of there being direct empirical
16 alternative explanations. You know, so Behe says the only 16 tests of things, you know, is going to be increasingly
17 way you can explain the way the cell maintains its stability 17 limited. 1 think these kinds of that we're secing
18 is through irreducible complexity, and some evolutionists 18 here is going to be much more indicative of the kind of
19 say, no, we've got an altemative explanation. Right. So in 19 science that's going to happen in the future, where you have
20  asense, the exclusiveness of the explanation being proposed 20 alternative computer models that ¢an generate the same sort
21 has been challenged. These are tests, right? I mean, 21 of phenomena that you can say can only be generated one way
22 they're -- they're not necessarily tests in the sense of 22 And the design guys like to play around with that. And it
23 coming up with a fact that shows that something is M23 \ seems to me a lot of science is heading in that direction.
24 definitively right and wrong, but then in science, you know, 24 Q I mean, see, here's my problem. [You know, I can come up wi i
25 relatively little is actually -- you know, relatively few of, 25 the assertion that all of biological |life is made of

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26 (Pages 98 to 10

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1 since I haven't read the pieces, I'm only sort of guessing 1 Q I mean, again, I'm going to come back to this point I think I :
2 what I imagine the research strategy is. But I take it that 2 was trying to make at the ~ this afternoon. That you're
3 he's basically trying to show that there's a sense in which | 3 equating the presence of criticism] with testability is that
4 there are certain kinds of phenomena that evolutionary 4 a — I mean, am I -- '
5 accounts cannot explain, and so whenever an evolutionary| 5 A That's —
6 account is purported, he wants to say, well, in fact they 6 MR. GILLEN: Object to form. E
7 can't explain everything and that this other account with 7 THE WITNESS: Weill, that's |- that's basically correct. &
8 irreducible complexity, we'll be able to do that. And so 8 Yes. Yes, that's right, because I —Iwanttomove §
9 it's a sort of battle of dueling accounts for various natural | 9 away from sort of the stereotyping of testability as someho|
10 phenomena to get presented. J take it that's kind of-and |10 coming up with some sort of empirically precise predicti
11 __ if that is in fact what he's doing, then that would be 11 _—_iIet's say during an experiment, use, I mean, that's-- —
12 scientific. But I'm just — again, I haven't read the 12 that's a kind of classic paradigm of how we talk aboutE
13 articles. 13 scientific testability, but it's not ily
14 Q So you don't know? 14 __ representative of all the forms of ility that are used
15 A Idon'tknow. But I do think, you know, I mean, I think ité15 —_—in science.
16 reasonable to suppose that that's what he's doing, given thaj 16 BY MR. ROTHSCHILD, CO G:
17 __ he's publishing in the area and so forth. 17 Q Right. And as far as I can tell, the only form of
18 Q But you're speculating on what the -- 18 testability that you have identified for these Intelligent E
19 A Yes, I'm speculating. 19 Design propositions is the fact that they are susceptible to
20 Q Okay. And now going to Dr. Dembski, I think what you'p20 criticism? Y
21 saying is he came up with this concept of the explanatory -j 21 MR. GILLEN: Objection to form.
22 explanatory filter, there's been some criticism of it, he has | 22 THE WITNESS: Well, { mean, you make it sound like
23 adjusted his definition; is that fair? 23 that's mere. I'm not sure what the spirit is in which you're |
24 A Yeah, ] think that's right. 1 mean, so he has been 24 saying criticism. I mean, first off all, the criticism i
25 continuing along with the same trajectory, trying to take | 25 isn't — the criticism comes in rather specific form, right?
107 109 F
1 into account the criticism. I think that that's basically — 1 Namely, coming up with counterexamples or coming up with ‘
2 and that's not surprising. 2 counter models in the case of Behe, right, which in effect
3 Q Okay. And can you explain what he originated with and how ] 3 you know, bring forward various kinds of other considerationg,
4 it's changed? 4 that need to be taken into account| So it's — you know, the [/
5 A Well, I mean, in terms of what he originated with, [ think he 5 word criticism shouldn't be reduced to something like y
6 originally sort of set up something like a, you might say a 6 carpeting or something, you know, as if, you know, all's
7 menu by which you make the inference that something is design 7 they're doing is, you know, treating, you know, just sort of
8 based, and who you've managed to say that it cannot be 8 plugging holes. They're in fact eqgaging with it, right, in = |
9 explained by either strict physical regularity or by chance 9 ways that forced Behe and Dembyki to sort of, you know, :
10 occurrence. And he listed some conditions one would follow, {10 rethink — and to varying degrees,|what exactly, you know,
it and then people brought up counterexamples to this. And he {11 how they should proceed after that. So it's not a trivial
12 has adjusted the theory to be able to deal with those 12 thing to do. E
13 counterexamples. I cannot say whether he's dealt with it 13. BY MR. ROTHSCHILD, CONTINUING: iz
14 sufficiently that he's going to fend off all counterexamples 14 Q Well, and I don't mean to treat it/as trivial. But I do -- :
15 in the future. But he is continuing along the same lines, 15 I'm trying to confirm that in terms of how Behe's and
16 only a corrected version of it. 16 Dembski's work has been rendered testable, the only real life
17. Q And does this correction fit your definition of a research 17 examples of that that you are aware of is that the phenomeno
18 trajectory where more of Intelligent Design's claims are made | 18 that it's - they have elicited critiqism; is that fair?
19 testable? 19 A Yes. But, I mean, I'm not sure ip the normal run of science
20 A Well, yes, in the sense that | think il, you know, it does 20 what else you'd be looking for giyen that most scientific
21 open up this field to critics in the future to -- because 21 claims aren't directly testable in that classic, you know, E
22 he's stil] sticking with the same method largely, right, so 22 empirical prediction kind of way|that we talk about in i :
23. _—s people are in a sense getting used to the way he operates. 23. philosophy of science 101. Okay. So I'm not sure what the j :
24 And soit should make it easier in the future to criticize 24 alternative that's in the back of ypur mind would beto. | M
25 him, I would think so. 25 what's happened to them, given the nature of the kinds of FE
28 (Pages 106 to 10
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118 120
1 Ap Yes, yes. That-night: —~ 1 words, I don't think it's so — you know. I don't think, you |
2 Q Okay. And you also — you used the term in your report 2 know, you can't — I don't really know if there's a moment in
3 metaphysical naturalism? 3 Intelligent Design work where you fay, ah, you know, you 're
4 A Yes. 4 now entering the supernatural here.| You now need a y
5 Q What do you mean by that? 5 supernatural explanation. I mean, tpat's kind of more a term
6 A. Well, what methodological naturalism is in practice. 6 a critic would use of it.
7 Q And explain what you mean by that. 7 Q Well, let me — when —
8 A Well, I think -- see, naturalism is not an innocent view. 8 A Sois Intelligent Design supematutal? Right? I mean ~ I
9 Right. I mean, one of the consequences of methodological 9 mean, certainly when the arguments are being conducted aboug
10 naturalism is that you sort of presuppose the world has to be 10 _ it, you know, let's say to Dembski's version, the word
11 a certain way in order for science to take place. So you 11 supernatural doesn't have to arise, Gut it's quite clear the ;
12 _ restrict yourself to certain kinds of, you know, phenomena 12 __ kinds of inferences he's making do us beyond what p
13. and ways of looking at the phenomena and close yourself off |13  nommally is accepted within n ic forms of science.
14 _ to other possibilities. So you close yourself off to 14 Q When we talk about Intelligent do you understand E
15 _ Intelligent Design. And in the past, this kind of naturalism 15 _ Intelligent Design to take a positiog on who the intelligent
16 closed people off to looking at things like action at a 16 designer is?
17 _ distance with regard to gravitation attraction in Newtonian 17 A Not necessarily, though, I mean, historically, of course, a p
18 mechanics. And in — even arguably, people say that if you 18 certain kind of monotheistic conception of God has been
19 really took this kind of methodological naturalism seriously, 19 behind it. But I don‘ think the way the theories have been
20 you wouldn't be able to make much sense of quantum mechanic} 20 developed recently you'd really require any kind of view on
21 as it currently is being made sense of, because that in a 21 _ this matter, that one could be agnostic. Yeah. ;
22 sense spends at least certain kinds of common sensical 22 Q Okay. And do you have an undefstanding of whether )
23 _ notions of physical causation that are normally seen as 23 Intelligent Design takes a position jon what the capabilities
24 rooted in methodological naturalism. So in that sense, 24 or powers of the Intelligent Design is — designer is? py
25 there's a kind of metaphysics that's associated with it. It 25 A Well, this is, again, I don't think there's any kind of — E
A :
}-——. 119 121
1 closes you off to appreciating certain kinds of phenomena. h 1 MR. GILLEN: Object to form. E
2 So in a sense, calling it methodological is a bit coy. 2 THE WITNESS: J don't think there's any kind of unifo ‘
3 ‘That's what I would say. I'm using the term because that's || 3 view on this matter. And in that|respect, it's very much
4 the term Pennock, I believe, introduces. 1 myself would 4 led —- I mean, this respect -- you|know. There's a sense in
LS naturalism as a metaphysical position. st 5 which, look, the intelligent designer in a sense has to be :
6 Q Soto you, methodological naturalism and metaphysical 6 intelligent enough to produce, you know, a cell, let's say,
7 naturalism or philosophical naturalism aren't really 7 that has some kind of organic -- lyou know, stability over
8 distinct — 8 many different environmental changes. So it has to be that }
9 A That's right. 9 powerful or that intelligent. Buf does it have -- but it
10 Q - concepts? 10 doesn't have to be infinitely powerful or intelligent. So in
11 A That's correct. 11 that respect, it is not committed fo the fully robust notions §
12 Q At — certainly at the end of your report, and I think 12 of the divine creator that have been associated with the
3 elsewhere, you say that ID rejects naturalism and is 13 Judeo-Christian tradition. Right. You could actually --
14 _ committed to supernaturalism, right? 14 _ it's quite compatible with a much more restricted sense of
15 A Well, think if you're going to take that kind of 15 _ intelligent designer. L
16 distinction seriously, because I mean, the point I made abogtl6. BY MR. ROTHSCHILD, CONTINUING: :
17 __ the naturalism/supernatural distinction is that it's a 17 Q Do you understand the intelligent designer, its proponents fo
18 distinction created by naturalists, right, who in effect - 18 have provided any description of what capabilities the ;
19 who in effect say, look, these people aren't just considering} 19 intelligent designer has or would need to have to do the :
20 sort of the normal material world in which things operate, | 20 things that they say it has done
21 _ but they also think there's this other stuff out there, 21 MR. GILLEN: Object to fosm. )
22 Intelligent Design or spirits or something like this. And — | 22 THE WITNESS: Well, it al] depends how you -- I mean :
23 and so that's the supernatural realm. I think actually my 23 look. There's a sense in which |- one of the reasons why
24 view about what Intelligent Design people are doing is 24 Intelligent Design has been abl¢ to be critically discussed
25 actually kind of blurring the boundary more. So in other 25 by other scientists and philosophers has been because they ;
31 (Pages 118 to 121)
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1 including to the incorporation of religiously inspired 1 is now. Had I written this thing] today, I would not put it

2 doctrines, for example, Intelligent Design theory, a/k/a 2 this way. 1 mean, these things dre time sensitive. In that

3 creationism into mainstream science education. Do you see 3 respect, Intelligent Design has made progress fairly rapidl

4 that? 4 because in the course of what this is, seven years since

| 5A Ub-hub, uh-huh. 5 __ this piece has been published, right, the status of this i

6 Q And that's consistent with what you told me today, which is 6 thing has changed somewhat.

7 that Intelligent Design theory is a form of creationism? 7 BY MR. ROTHSCHILD, CO! G:

8 MR. GILLEN: Object to form. 8 Q And in what respect?

9 THE WITNESS: But it's - no. But it's not all of 9 A Well, in the sense that I think it's more easily Es
10 _ creationism, and it's in fact the part of creationism that 10 disentangleable. So like even when you were talking about
11 gets taken into science. So, 1 mean, I mean, obviously, I'm 11 _ Intelligent Design theory, you were able to nail it down to §
12 just — because in the time that this piece was written, 12 few people, right, who are in a Way separable from the [
13 _ right, so this was written in 1998, Intelligent Design theory 13 general creation movement. Aad I think that — you know./
14 wasn't that widely used as an expression. So I put the 14 And I think that that's because Of all the, youknow, not [
15 _ creationism in there so people kind of have a sense of what 15 just the publication of the books, but also the way in whichy
16 _ exactly Intelligent Design is without me having to give a 16 the discussion of Intelligent Design has kind of moved off fp
17. whole song and dance about it, because I'm just using it as 17 its own space. So in a sense, you can talk all about pe
18 an example. But I didn't mean to say that everything about 18 Intelligent Design now without| bringing in all the other
19 _ Intelligent Design corresponds to everything about 19 schools of creationism, or the six — you know, the six day

|20 creationism. — 20 stuff or any of that. !
21 BY MR. ROTHSCHILD, CONTINUING: 21 Q But that was not true in 19984
22 Q But you -- what do you understand the acronym a/k/a to mean?| 22 MR. GILLEN: Object to form. Ee
23 A Yeah, also known as. 23 THE WITNESS: I think in|1998 these things were muds
24 Q Okay. So- 24 more confused.
25 A Right. But in 1998, okay, we're talking ~ you know, when | 25 BY MR. ROTHSCHILD, CONTINUING:

147 149 fp

1 did Dembski's book come out? 1998? I mean — right? I 1 Q Okay. Confused by who?

2 mean, we're talking pretty carly before this thing becomes 2 A Well, 1 just mean just gene: ‘speaking.

3 really crystalized as something that's separable from all 3 Q You for one? " ye

4 these different branches of creationism. 4 A Look, I didn't say I was a creationist or Intelligent Design

5 Q So you're saying in 1998, Intelligent Design was more similar | 5 theorist. But I do think that -- | do -- I do find — I have :

6 to creationism than it is today? 6 found out more about it in the interim, J think it's fair to

| 7 MR. GILLEN: Objection to form. 7 say that I knew less about it bapk then. Largely because

8 THE WITNESS: I'm not actually — I'm not actually 8 there was less of it to know, okay. And I know more about #

9 making any commitment to that in this parenthesis. I'm just 9 now. But again, this is seven years ago. i
10 _using it as a marker so that people can understand what 10 Q Okay. Now, when I asked yop about this before, you said}
11 _—_ Intelligent Design — since Intelligent Design theory was an 11 you'd been following this issuq?

12 ascendant notion, what exactly — how — you know, in what 12 A Not -- I mean, but I never said | was an expert on this. I
13 conceptual space one should put that when thinking about what j 13 said 1 was following it, you knpw, kind of shadowing it.
14 religiously inspired doctrines mean. 14 That doesn't mean I'm an expeft on it. Ee
15 BY MR. ROTHSCHILD, CONTINUING: 15 Q I mean, you know, these -- S ve, words are pretty hard tof
16 Q Okay. And Intelligent Design — you were characterizing 16 escape. Religiously inspired doctrine a/k/a creationism. :
17 _ Intelligent Design theory as a religiously inspired doctrine? 17 And I think -- what I'm trying to understand is, you know, .
18 A Well, it is, and to a certain extent is religiously inspired. 18 what about Intelligent Design ¢aused you to characterize
19 —_ But to be religiously inspired is not to be religion. 19 it -- characterize it as --
r20 Q Okay. And — and you were equating it with creationism? 20 A Well, because --
21 MR. GILLEN: Object to form. 21 Q -- Creationism at the time?
22 THE WITNESS: 1 wasn't equating it. I wasn't equating 22 A Because all of the response -/ look. All of the responses t¢,
23. it, Allright. I mean, I was just — I was using it as a 23 Behe and Dembski and the lin¢ of argument that that led —- [
24 kind of — as a placeholder for it in a period where this 24 jed from to the present day happened after this. Imean,
25 term Intelligent Design wasn't yet consolidated in the way it. | 25 there is a sense in which, you know, if you want to -- if you}.
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19 BY MR. ROTHSCHILD, CONTINUING:

20 Q Okay. And so when you ~ when you refer to this Intelligent
21 Design work as creationist, do you - do you mean it only in
22 the sense that it's motivated by creationist interest?

23 A Yes.

24 Q Okay. And not anything about the content of Intelligent

1 creationism, that's truc.
2 BY MR. ROTHSCHILD, CONTINUING: |
3 im
4
5
6
7
8
9
| 10°
11 ;
12 science isn't that fact. T mean, again, al kinds of
13 religious motivations inform science. I mean, so there's
14 nothing, in a sense by calling it creationism what I'm doing
15 is I'm giving something about the motivation of the people
16 but not necessarily about the scientific status of what
17 they're doing. Those are two separate issues. You've got |
118 _ context of discovery, context of justification.

 

 

 

   
 
  

  
 

25 —- Design? _
| --” ~~ 155 157 &
1 A No, because in fact these people in practice don't actually 1 gpodel Sor God; is that right?
2 say much about the qualities of the creator, right. I mean, 2A men
3 in that sense, they don't do a lot of the stuff of Q Okay. Is that - do you also ~jare you also suggesting tha
| 4 traditional creationism. _ that argument is scientifically problematic?
5 Q They do suggest that the designer is a supernatural creator, [ 5 A Well, I don't seem to say that here, do I? No, no. The
6 correct? 6 scientific side is a different ent, isn't it, right?
7 MR. GILLEN: Object to form. 7 Because there's two arguments |here, right? There's a
8 THE WITNESS: Well, I mean, yes. But that's not saying | 8 theological argument which is phat we're talking about, b f
9 alot, you see. I mean, I just don't think that's saying 9 then there is also a scientific i
10 very much. I think — 10 Q Right, which is separate?

11 BY MR. ROTHSCHILD, CONTINUING:

12 Q Do you — go ahead.

13 A No, no, no, you go ahead.

14 0 bo you copmider teptan sapost.ot crestionion; that « — ‘that
15 "there is 0 — that the xaplenstions of life inclode «

16} supernatural cseator?

 

 

 
 
    
   
   

11 A Yeah.

12 Q Do you find the first argument which you focus on

13 theologically —
A Yeah.

15 Q —also to be scientifically proplematic? Because I can't

16 get over it.

 

See

 

   

a

17 MR. GILLEN: Object to form. 17 A I—see, my attitude toward has changed a bit over th
18 THE WITNESS: ‘es. think croatioaiam does peeagppoel 18 last seven years, okay? I mean, I guess I would have said
}19 5 thet the coontor is soparste from the cacstion, ta witich tee 19 yes back then, that it was problematic. But now J think that
20 #3 Yes. I mean, so yes. 1 mean, it's 20 there's a sense in which, as so much — I've mentioned this E
21 attached to a certain kind of cosmology which does involve af] 21 earlier. So much of science on to be done as computes
22 difference between the creator and the created. So it's 22 simulations, where the scientists in a sense has to be :
23 true, supernatural in that sense. But again, ] don't see 23 something an artificer, and that includes when one is trying:
24 this as operating in a way that actually, in some way 24 ‘to model the nature of life and/the way in which life
25 __ visciates the science that's being done. _ 25 develops and so forth, I think it actually becomes easier to [|
40 (Pages 154 to 15.
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170) 1724
1 Q No, no, i andeesinad. Bast sat Pon marin oe — you A by denying what -- I mean, if yop got -- if you got random
2 do mutation and natural selection af one hypotheses, right, theg
3 #3 \ the other -- you know, the other hypothesis could be one
4 4 where there is some kind of pian. And since the cell had --
5 5 you know, the cell is designed the way it is so that it could
6 6 __ survive many different kinds of thanges in the natural
7 7 selection environment. That's npt — that's not an
8 8 incomprehensible notion, right?| 1 mean, it's just to make
|g A. Yes, yes. i 9 that specific so you could actually test whether it's, you
10 Q hay. But then I -- even granted your point, which I do, I know, it's -- it's true in a certain|situation, I think
11 _ still troubled by the idea that even if you could eliminate that's the problem. It's not really specified enough. But, §
12 __ all the, for example, natural hypotheses that have been you know, I mean -- jet me make a follow up point to this. §
13 asserted, one could make a positive case for action by an | 13 Evolutionists and Intelligent Design people can go about
14 _ intelligent designer. And I'm trying to understand how that} 14 criticizing each other and that's perfectly fine and that's |
1S _ follows, which I -- I -- I think is the conclusory 15 very appropriate in science. But there is also — you know,
16 _— proposition? 16 _ but as it were, the -- the — the relative scientific status p
17 A Yes, 1 mean, yes. It doesn't follow. You're absolutely 17 of the theories aren't just determined by those clashes and
18 right. But typically what happens in these kinds of 18 what happens in those clashes. [But it's also determined by, y
19 arguments, right, is that the Intelligent Design person, as_ | 19 as it were, how they take it home to develop their own ,
20 the person who's always facing evolutionary challenge, has theories independently. So if we take seriously the idea
21  ~——make the Intelligent Design argument more specified, right} 21 _—that Intelligent Design theory is in a way trying to scope
22 So what happens then is that the Intelligent Design 22 out the phenomena of reality somewhat differently than the
23 becomes more precise. So I think what -- I don't see it as | 23 evolutionists are, so it includes bosmological issues and =f
24 an inherent problem. It just means that there's -- there's 24 maybe supernatural issues, eves, in a way in which evoluti p
25 _—s never going to be a decisive moment where the Intelligent | 125 tules out of court, right, then what you're also looking at ;
ft TN 1214
1 Design argument wins by default by seeing off evoluti 1 is not how -- not only how these two theories relate to each
| [2 challenges. That's all it means. 2 other, but also how they develop] in' light of the criticism in
3 Q ButI- 3 their own terms. Do they go to the places they're trying to
4 A It doesn't mean it ever — at no point does it ever get sh 4 go to with regard to explanation pnd so forth? And so when §£
5 to be wrong. It -- what -- it shows it hasn't eliminated 5 somebody like Meyer, let's say, Wants to have this kind of
6 alternatives. - 6 covering information theory as the metatheory of Intelligent
7 Q And never would? 7 Design, well, that's nothing — you know, that’s — you know,
8 A That's entirely - 8 _ evolutionists think that's just weird, right? But then he's y
9 MR. GILLEN: Object to form. 9 trying to do something different] He's not trying to do what
10 THE WITNESS: I mean, that's entirely possible. And | 10 _ the evolutionists are doing. So while they do confict over
11 _ that's why some people object to the idea of inference to thé 11 certain areas like how do you explain the cell's stability,
12 best explanation as being a method in science, whereina [12 the overall goals of the research program are somewhat :
13 _ sense, right, the question is always open as long as there |13 different, and so there are different kinds of concerns that
14 __ are alternative hypotheses available. People who believe jg 14 _—they will then want to take forward when they develop their
15 the inference to the best explanation do believe that all th |15___theories.
16 opponents are eventually seen off. 16 Q Goto the next page of the article, page 540. You invoke the
17 BY MR. ROTHSCHILD, CONTINUING: 17 well-known and highly regarded Fuller's Faimness Rule, whichh
18 Q Allright. And — and ~ and -- what -— and I -- but I — 18 is if you appeal to metaphysical explanations at all, you t
19 _—_ and I'm still trying to get to the point, we're talking about {19 must permit a plurality of them.; And you also — you go on :
20 inference to the best explanation. But I don't see how 20 ‘to say virtually any metaphysical hypothesis can be :
21 intelligent Design is unexplanation at — what the -- what {21 maintained in the face of any negative evidence. Explain ;
22 the affirmative case is for Intelligent Design even being on¢ 22 —_ what's going on here.
| 23 of the alternatives? ———+23 A Okay. Well, this is, in a sense,|kind of the — it's in — E
/ | 24 A Well, I'm not sure. ] mean, it seems to me that the 24 it's in a way trying to find a useful place for metaphysics y
25 possibility of space for Intelligent Design is opened up just| 25 and science. Okay. And the idga here being that when :
44 (Pages 170 to 17_.
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1 their hand rhetorically. What do you mean by that? 1 A No, no, it has -- no, it isn't that. I mean, it's to say
2 A This is -- yeah. I know — I recall saying this. I just 2 that the cell has to have certain kidd of components in place
3 can't quite find where you're looking at. 3 in order to have the stability it has|so that it's able to
4 Q It's the second full paragraph. 4 survive all the various changes in the environment. Now, it
5 A Second full paragraph, okay. 5 seems to me that that project, if it were fully executed,
6 Q Towards the bottom of the page. 6 could be done independently of anything going on in
7 A Right. I mean, the point here being that -- that if ID is 7 evolutionary theory. | mean ~ I ngean, so in that respect,
8 able to provide a scientific explanation for something, that |, 8 | _ Intelligent Design could be pursued as an independent
9 doesn't rule out the evolutionary one. But there's a 9 rogram.
10 _ tendency to sort of see these things, I think on poth sides, |10 Q So if- if Behe simply showed einpirical evidence of the ce! F
11 in mutually exclusive terms. So if we can provide an 11 maintaining stability —-
12 explanation and you guys -- and you guys can't then, you |12 A Well, this is what I would say. I/mean, I wouldn't do it
13. know, in principle, we're the only ones who can. So, I 13 _‘ that way. I would actually go to the computer simulation and
14 I do think that there's a tendency on both sides to think 14 try to model the cell, right, and act try to come up
15 that the two are sort of mutually exclusive. 15 _ with the parameters whose interagtions end up producing a
16° Q And you say then epistemological letigmacy of ID doesn't] 16 cell, right, a virtual cell, simulation of a cell, right,
17 require showing that evolution cannot provide a credible —-] 17 that is able then to maintain its stqbility in the face of B
18 A Right, right. 18 the kinds of environmental changes that we normally think of §
19 Q ~altemative framework, just requires showing that ID bs 19 cells as being able to survive in. Right. So if you were
20 an explanatory framework that can be the basis for a body of 20 _able to do that, and so he could then say, look, I've been
21 scientific research? 21° ~— able to program a cell, and you cgn do it this way, and
22 A That's right. I was making that point earlier with regard to] 22 _there's not going to be an altemative evolutionary
23 the fact that you just can't judge the legitimacy of ID just | 23 explanation for that. And as it were, then throw the E
24 _ purely in terms of how it faces up against evolution. You {| 24 gauntlet down and say, you come up with something that isn't :
25 have to see how it is able to develop the stuff in terms of {| 25 as designed as this, that in some sense has a kind of random p
a. 187 189 £
— ye
1 its own framework. 1 element or something, and yn tae get this kind of
2 Q And what is your understanding of the explanatory framework 2 stability over time. | don't think he's done that yet, but
3 ID offers other than the assertion that evolution doesn't “| 3 it seems to me it could be done] I mean, it'd probably be ;
4 provide a credible framework? 4 very difficult, but not out of the question. I mean, I'll ip
5 A Well, I mean, this is where the explanatory filter and the 3 tell you one advan -- one -- one} thing about Intelligent E
6 irreducibly complexity notions get mobilized as a way of 6 Design that I think is worth pointing out is because you
7 suggesting research avenues. I mean, that's -- that's the 7 don't actually have d and schools and disciplinesy:
8 _ basic -- that's what I mean by the explanatory framework, 8 _ of Intelligent Design, there's not a ready-made way of :
9 that within which then research can be done. 9 training people in the kinds of that'll be necessary ff
10 Q But isn‘ irreducible complexity nothing more than the 10 _to sort of carry out a lot of the of this project. 1
11 assertion that the evolutionary framework doesn't work? 11 mean, that's a real problem, I that they face ;
12 A No, it isn't more than that, I mean, because the issue then 12 sociologically at the moment use, you know, if you've :
13. depends — determines -- it turns on how you actually develop | 13 only got a few guys kind of forward bold hypoth
14 this thesis, right. And presumably, what you want to do with | 14 and trying to do very sort of bits of forays, you j
15 _ the irreducible complexity is to identify as it were the 15 know, challenging evoluti you can only go so far. Yq
16 _ parameters that — all of which have to be in place in order 16 _ really need to train generations|of people. In fact, that -- ;
17 __ to sell -- in order for the sell to have its stability the 17s: you know, that's how any survives. And it was only;
18 — way it does, and that there's no way of removing any of those | 18 starting in the 1930's and ‘40's you start to be able to
19 parameters without in fact undermining the stability of the 19 train biologists who have a sufficient range of skills to :
20 cell, and that evolution cannot provide an alternative to 20 _ actually be able to contribute t@ Neo-Darwinism as this 2
21 ‘that. So it seems that there is a self-contained research 21 fully-fledged program that we see it today. So, you know, ‘
22 _ program that perhaps has not been fully executed but is 22 a way, they do have a sort of sociological disadvantage he
23 suggested by the idea. . 23 They're basically trying to covér a lot of the waterfront all :
24 Q And I'm not sure what that is besides the fact that evolutiong | 24 by themselves, and of course they don't have all the skills ;
25 _—sor natural selection isn't an adequate explanation? 25 ~— to do it. This is why they would need a school of people to :
48 (Pages 186 to 18.
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1 QO Uh-huh. You refer, I think at footnote 11 to a book by -- | 1 A No, I have not.
2 A Oh, yeah. 2 Q Why not?
3 Q -- Thomas Woodward, Doubts About Darwin. 3 A Well, I don't —~ I guess I just ~[[ haven't thought I was in
4 A Yes. 4 a particularly persuasive position to convince the natural
5 Q What is that book about? 5 scientists about teaching anythiag other than what they
6 A Okay. This was a guy's Ph.D. thesis originally. And what}t 6 already do. I mean, so it just ditin't seem to fall to me to
7 is, he basically followed various people around who've 7 do that. I guess that would be the main reason. Also I do
8 debating the Intelligent Design/Darwin issue publicly. You| 8 think there is this issue we keep on going back to about £
9 know, so when Phillip Johnson and Stephen J. Gould were | 9 what's the appropriate faculty for discussing these matters. |
10 debating, I mean, he'd follow all these people across the 10 And that in the case of some of these things, that a
11 country. And he's basically charting sort of the development 11 mathematics or statistics depart nt might be better than ay
12 and the arguments that are taking place. And one of the 12 _ chemistry or biology department for a lot of this stuff. So £
13 points that he makes is that in fact Intelligent Design 13 1 think there's a kind of open q estion about where exactly
14 __ people kind of have evolved, you might say, as they've 14 _ would you want to be placing the study of this thing. :
15 _ interacted with scientists and they've made more $5—Q Same question applies to 0 the High school level? y
16 sophisticated arguments and so forth. And so there's beer aj 16 A Well, the high schoo! level, the science courses are much f
17 __ kind of learning curve, you might say, that now makes 17 ~—s more generic, aren't they? I mean, so — and also } think
18 Intelligent Design a much more sophisticated theory through 18 _ there's a different purpose as well, because at the high :
19 the interaction with the scientists. 1 mean, it's the kind 19 school level, there is a sense in which you're trying to seedp
20 _— off thing, you know, the sort of thing that John Angus 20 the next generation of scientists potentially. I mean, that f
21 Campbell kind of says would happen, he sort of documents }t21 was something that even your guy, Alters, brought out. A
22  ~=And as a participant observer, which means that he's kind 4 22 that it becomes important then fo think about the different }
23 there in the meetings, asks some questions, you know, and | 23 scientific perspectives in light qf that, whereas by the time f A
24 then writes about it. 24 ~—syou get to university, people are training to be ; |
25 Q Do you have any relationship with Mr. Woodward? [ 25 _— professionals already in a gives science. So they're sort of}
nner E
2s | — 217
1 A DoT have any relationship with him? I did teach this book 1 already engaged in a kind of moe technical sort of thing. |
2 in —at UCLA when it was still in its proof form. I mean, I 2 fn a= bern at ie ,
3 know -— you know, and I have been in contact with him 3 I think it actually would be casicr to institutionalize at E
4 actually because he docs derive some kind of methodological | 4 the high school level. e
5 inspiration from some of my writings in the appendix of the 5S Q Wouldnt it make sense at the undergraduate level, to seed §
6 book. But I've never taught the man, I've never met him 6 the next generation of actentists, when the students are -- :
7 personally. By the way, the context I would say where — | 7 _A_ Well, okay. ;
8 where he is drawing some inspiration from me relates to the 8 Q -— sophisticated?
9 questions that you were raising earlier about the tributary 9 A My -~I should explain something. In Britain, you come in §
10 _— delta stuff, about the idea of broadening out the scientific 10 _—_ already specialized. I mean, you see, in America, it's quite
11 _ base so that larger numbers of peopie can have access to li common for the first year or tw of the undergraduate level —
12 stuff. That's the kind of thing that he found intitially 12 _ to in a sense be searching around for a major. And so, yes, ff
13 attractive, which comes up in this book mine on Thomas Kuhn. | 13 in that context, J think that's a — [that's actually right. :
14 Q I think you said very early in our discussion that 14 So take your point there. But II was thinking about the
15 Intelligent Design is not taught as part of the biology 15 British context, right, where you sort of start i
16 —_ courses at Warwick University? 16 _— specializing — you get admitted a university in a :
17. A That's correct. 17 subject. And that's why the degtee program is a three year
18 Q Okay. And -- 18 rather than a four year program.
19 A But we do teach, you know, in this philosophy master's degree} 19 Q Could you tum to page 11 of ypur report. )
20 thing, we do teach it. And so — 20 A Yeah.
21 Q Okay. But I'm correct that it's not part of any of the 21 Q And at the bottom paragraph, you talk — you talk about most
22 natural sciences curriculum? 22 philosophers having resisted thd charms of naturalism.
23 A No, no. 23 A Yes. ;
24 Q Have you ever advocated at the university that Intelligent 24 Q And that's — J take it you're distinguishing them from
25 Design be taught as part of the natural sciences curriculum? 25 scientists who, to a large extent] have succumbed to the :

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